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  1                      DECLARATION OF STEPHEN MCARTHUR
  2   I, Stephen McArthur, hereby declare as follows:
  3         1.     I am an attorney at law, duly admitted into practice before the State of
  4   California and this Court. I am an attorney with The McArthur Law Firm, P.C.,
  5   counsel for Plaintiff Thrive Natural Care, Inc. (“Thrive”). I make this Declaration in
  6   support of Thrive’s Motion for Preliminary Injunction (“Motion”) against Defendant
  7   Le-Vel Brands, LLC (“LBL”). I am over 18 years of age and make this declaration of
  8   facts known to me and, if called upon, I could and would testify competently to the
  9   facts stated herein.
 10         2.     Thrive has expended extensive resources enforcing and defending its
 11   intellectual property against such infringers, through cease-and-desist letters and
 12   litigation. Thrive has sent cease-and-desist letters to every third party it has identified
 13   as potentially infringing its THRIVE family of trademarks. Its enforcement efforts
 14   have been very successful and are identified, in part, below:
 15      • The trademark registration for “ENTHRIVE”, U.S. Reg. No. 4,841,662, for
 16         “Beauty and cosmetic moisturizers and creams for skin care and renewal” was
 17         surrendered and is now listed as Dead and Cancelled, after demand from Thrive
 18         sent January 14, 2021.
 19      • A seller of skincare products, The Good Hippie, Inc., agreed to sell off and
 20         discontinue its use of “Thrive” branded skincare products after we sent a
 21         demand letter in October 2020. All of its “Thrive” skincare products have been
 22         removed from its website, distribution, and/or sale.
 23      • The trademark registration for “DON’T JUST SURVIVE… THRIVE”, U.S.
 24         Reg. No. 4,858,655, for skin creams was expressly surrendered on February 24,
 25         2021, after a demand letter from Thrive sent in January 2021.
 26      • The trademark application for “THRIVA”, U.S. Serial No. 88049841, for
 27         skincare products was expressly permanently abandoned on February 19, 2021,
 28         after a December 2020 demand from Thrive.

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                                   DECLARATION OF STEPHEN MCARTHUR
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  1      • The trademark application for “Thriving Spirit”, U.S. Serial No. 88908740, was
  2         amended on January 20, 2021, to remove all skincare and skincare-related
  3         products after a January 2021 demand letter from Thrive.
  4      • The trademark registration for “NOURISH YOUR SKIN, AND THE REST
  5         WILL THRIVE”, U.S. Reg. No. 6,037,264, was expressly surrendered by the
  6         owner on January 21, 2021, after a January 2021 demand letter from Thrive.
  7      • The trademark registration for “THRIVING WITH DIABETES”, U.S. Reg. No.
  8         5,141,471, was amended on January 19, 2021, to remove all references to
  9         skincare products after a November 2020 demand letter from Thrive.
 10      • The trademark application for “THRIVE HEMP”, serial number 88477585, was
 11         issued an office action by the USPTO for likelihood of confusion with the
 12         THRIVE family of registered trademarks. Then, the owner of the THRIVE
 13         HEMP application officially abandoned the application on March 3, 2021, after
 14         a January 6, 2021 cease and desist letter from Thrive.
 15      • A wellness center in Vancouver, Canada, Thrive Wellness Inc., removed its
 16         “Thrive” branded skincare products from sale and from its website after an
 17         October 2020 demand letter from Thrive.
 18      • A demand letter was sent to Thrive Market Inc. in October 2020 for its use of
 19         “Thrive Market” branded skincare products. Thrive has been discussing a
 20         resolution with Thrive Market and expects to successfully resolve this issue in
 21         Thrive’s favor without litigation. Thrive is prepared to bring litigation to
 22         enforce its rights if it needs to.
 23      • Thrive filed a lawsuit and is currently in litigation against Thrive Causemetics,
 24         Inc. in the Central District of California concerning the latter’s use of “Thrive
 25         Causemetics” in relation to skincare and cosmetics products.
 26   Through its enforcement efforts, Thrive has substantially cleared the field in the
 27   skincare market of other entities’ use of the term “thrive” as a skincare product brand.
 28         3.     Attached hereto as Attachment 1 are true and correct copies of

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                                   DECLARATION OF STEPHEN MCARTHUR
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  1   screenshots from LBL’s website dated September 15, 2012, obtained from the Internet
  2   Archive’s Wayback Machine on March 3, 2021.
  3         4.     Attached hereto as Attachment 2 are true and correct copies of
  4   screenshots from LBL’s current website and product description pages.
  5         5.     LBL has been identified as a multi-level marketing (“MLM”) company.
  6   See, e.g., https://mlmcompanies.org/le-vel/ (last visited March 3, 2021);
  7   https://www.truthinadvertising.org/what-you-should-know-about-thrive/ (last visited
  8   March 3, 2021). LBL sells some of its products through individual resellers that LBL
  9   calls “Brand Promoters”. See https://le-vel.com/Rewards/GettingStarted (last visited
 10   March 3, 2021).
 11         6.     LBL also sells its products directly through its website, www.le-vel.com.
 12   Consumers can order LBL’s products directly from the website, without ever
 13   interacting with a promoter, and the products are shipped from LBL’s warehouse in
 14   Utah. I received a shipment of LBL’s THRIVE SKIN products at my residence in Los
 15   Angeles, California, which were ordered directly through LBL’s website and shipped
 16   from LBL’s business location in West Jordan, Utah, without the purchaser ever once
 17   interacting with a promoter of any sort.
 18         7.     Attached hereto as Attachment 3 is a true and correct copy of a
 19   screenshot of the online point of sale page on LBL’s website, taken March 3, 2021,
 20   from which LBL’s THRIVE SKIN products can be ordered directly and without a
 21   promoter’s involvement.
 22         8.     Attached hereto as Attachment 4 is a true and correct copy of
 23   documentation from the Food and Drug Administration concerning adverse health
 24   event reports relating to LBL’s Thrive products, obtained from a consumer watchdog
 25   group, TruthInAdvertising.org (“TINA.org”), and available at
 26   https://www.truthinadvertising.org/wp-content/uploads/2015/08/Thrive-adverse-
 27   event-reports1.pdf, last visited March 3, 2021.
 28         9.     Attached hereto as Attachment 5 is a true and correct copy of the

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                                 DECLARATION OF STEPHEN MCARTHUR
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  1   decision of the Better Business Bureau (“BBB”) following an investigation of LBL,
  2   obtained from TINA.org and available at https://www.truthinadvertising.org/wp-
  3   content/uploads/2020/09/08_21_2020-DSSRC-Le_vel-Thrive-Decision.pdf, last
  4   visited March 3, 2021.
  5         10.    Attached hereto as Attachment 6 is a true and correct copy of an article
  6   titled “What You Should Know about Thrive” by TINA.org, available at
  7   https://www.truthinadvertising.org/what-you-should-know-about-thrive/, last visited
  8   March 3, 2021.
  9         11.    Attached hereto as Attachment 7 is a true and correct copy of an article
 10   titled “THRIVE by Le-Vel Review…Is ‘Natural’ Always Better” by Abby Langer
 11   Nutrition, available at https://abbylangernutrition.com/thrive-by-level-review-is-
 12   natural-always-better-for-us/, last visited March 3, 2021.
 13         12.    Attached hereto as Attachment 8 is a true and correct copy of an article
 14   titled “An Unbiased Review of Le-Vel Thrive” by Ancestral Nutrition, available at
 15   https://ancestral-nutrition.com/an-unbiased-review-of-level-thrive/, last visited March
 16   3, 2021.
 17         13.    Attached hereto as Attachment 9 is a true and correct copy of an article
 18   titled “Is Le-Vel Thrive a Scam?” by Lazy Man and Money, available at
 19   https://www.lazymanandmoney.com/le-vel-thrive-scam/, last visited March 3, 2021.
 20         14.    Attached hereto as Attachment 10 is a true and correct copy of an article
 21   titled “How Utah Became a Bizarre, Blissful Epicenter for Get-Rich-Quick Schemes”
 22   by Talking Points Memo, available at
 23   https://talkingpointsmemo.com/theslice/mormon-utah-valley-multilevel-marketing-
 24   thrive-doterra, last visited March 3, 2021.
 25         15.    Attached hereto as Attachment 11 is a true and correct copy of LBL’s
 26   press release dated May 1, 2019, describing its release of the THRIVE SKIN line of
 27   products the previous day, available at https://www.prnewswire.com/news-
 28   releases/introducing-thrive-skin-by-le-vel-300842275.html, last visited March 3,

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  1   2021.
  2           16.   Attached hereto as Attachment 12 are true and correct copies of LBL’s
  3   product description sheets for its THRIVE SKIN product line (the “Infringing
  4   Products”), which were downloaded from LBL’s website at https://le-
  5   vel.com/Products/THRIVE/Skin on March 3, 2021.
  6           17.   Attached hereto as Attachment 13 is a true and correct copy of a
  7   screenshot of Instagram posts using the #thriveskin hash tag taken March 3, 2021,
  8   showing that nearly every post relates to LBL’s Infringing Products.
  9           18.   Attached hereto as Attachment 14 is a true and correct copy of a
 10   screenshot of Instagram posts using the #thriveskincare hash tag taken March 3, 2021,
 11   showing that nearly every post relates to LBL’s Infringing Products.
 12           19.   Attached hereto as Attachment 15 are true and correct copies of
 13   screenshots of posts by LBL on its official Instagram page taken March 3, 2021. As
 14   shown in one screenshot, LBL uses the hash tag #thriveskin on its main Instagram
 15   homepage. In the other posts, LBL uses the hash tags #thriveskin and #thriveskincare
 16   to advertise the Infringing Products and tells its followers to use the #thriveskin hash
 17   tag on photos showing the Infringing Products.
 18           20.   Attached hereto as Attachment 16 are true and correct copies of
 19   screenshots of additional posts by LBL on its official Instagram page taken March 3,
 20   2021. In these posts, LBL refers to its Infringing Products by the name “THRIVE”
 21   alone or as “Thrive Skincare” or “THRIVE Skin”.
 22           21.   Attached hereto as Attachment 17 are true and correct copies of
 23   screenshots from Google searches for the terms “thrive skin” and “thrive skincare”
 24   taken on March 3, 2021. Links to LBL’s webpage for the Infringing Products is
 25   displayed as the top result in both searches with an “Ad” notation, indicating LBL
 26   purchased Google adwords for those terms so that its site would appear at the top of
 27   those searches, putting it above the natural search placement of Thrive’s website,
 28   www.thrivecare.co.

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  1         22.    Attached hereto as Attachment 18 is a true and correct copy of an email
  2   from LBL that was sent upon signing up to purchase products from LBL’s website
  3   stating, “Welcome to the THRIVE tribe!”
  4         23.    Thrive’s THRIVE products and LBL’s THRIVE SKIN products can be
  5   found for sale together on third-party sales sites such as eBay. Attached hereto as
  6   Attachment 19 is a true and correct copy of a screenshot from eBay for the search
  7   “thrive skin” taken on March 3, 2021.
  8         24.    Attached hereto as Attachment 20 is a true and correct copy of a list of
  9   trademark applications LBL has filed for its marks in relation to vitamin supplement,
 10   shake mix, and skin patch products, which was obtained from the USPTO’s TESS
 11   trademark search website on March 2, 2021.
 12         25.    Attached hereto as Attachment 21 are true and correct copies of the
 13   cease-and-desist letter from Thrive to LBL dated October 27, 2020, and of LBL’s
 14   response letter dated November 24, 2020.
 15         26.    Attached hereto as Attachment 22 is a true and correct copy of the email
 16   correspondence between counsel for Thrive and LBL.
 17         27.    To date, despite several requests from Thrive’s counsel, LBL has not
 18   offered any evidence to support its claim that it has any prior right to use THRIVE in
 19   relation to skincare products or any other related product. Despite receiving Thrive’s
 20   cease-and-desist letter and having knowledge of Thrive’s registered THRIVE Marks,
 21   LBL has continued to sell its infringing THRIVE SKIN products.
 22         I declare under penalty of perjury under the laws of the United States of
 23                                                                     4
      America that the foregoing is true and correct. Executed on March ___, 2021.
 24
 25                                                 ________________________________
                                                    Stephen McArthur
 26
 27
 28

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                                  DECLARATION OF STEPHEN MCARTHUR
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                        McArthur Declaration
                               Attachment 1
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                         McArthur Declaration
                               Attachment 2
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                    THE           THRIVE       ACHIEVEMENTS      LV            LV       Cl.STOMER         PROM(,TER   CLOUD
                    BRAND                                        REWARDS       LIFE                                   OFFICE
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             PREMIUM LIFESTYLE                    ULTRA MICRONIZED                            LIFESTYLE DFT WITH
                 CAPSULES                             SHAKE MIX                             FUS ION 2.0 TECHNOLOGY

              PRODUCT INFO   ~                    PRODUCT INFO I._?)                          PRODUCT INFO I_V




       The THRIVE Experience is a premium lifestyle system, to help you experience peak
       physical and mental levels. 1-2-3 premium products taken every morning, that have
                                               changed millions of lives ...




       WHAT DO I TAKE?                              WHAT DOES If DO?                             WHAi ARE PEOPLc SAYING?




                                                 LEARN MORE AB OUT TH E                 •
                                                TH RIVE EX PERIE NCE
                                           I
                             Results vary for individuals. There are no guarantees of specific results.
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                         THE     THRIVE       ACHIEVEMENTS        LV            LV        Cl.STOMER   PROM(,TER      CLOUD
                         BRAND                                    REWARDS       LIFE                                 OFFICE
                                                                                                                                      B




                                              PREMIUM LIFESTYLE CAPSULE
      Weight Management+

      Supports Healthy Joint
                                              THRIVE W
            Function+                         THRIVE Wis a premium formula and a premium approach to your daily lifestyle. The result
                                              of scientific research and years spent perfecting the formula, THRIVE Wis the only
                                              premium lifestyle capsule of its kind. THRIVE Wis about reaching for more and achieving
    Calms General Discomfort+
                                              more, each and every day.

       Antioxidant Support+                   Part of the innovative, yet simple THRIVE Experience, THRIVE Wis Step 1 of the 3 Simple
                                              Steps in the THRIVE Experience. THRIVE Wis formulated for every woman who's thriving
                                              for the ultimate daily lifestyle, our premium grade naturopathic formula of Vitamins,
      Lean Muscle Support+
                                              Minerals, Plant Extracts, Anti-oxidants, Enzymes, Pro-Biotics, and Amino Acids is the first
                                              and only Ultra Premium Formula ever developed. Live more, be more, experience more,
   Digestive & Immune Support+                THRIVE for more with THRIVE W.

                                              Learn more about the THRIVE Experience here.




      rX   PRODUCT PDF
            THRIVE W CAPSULE




                                          THE FOUNDATION OF                 THRIVE PLUS PRODUCTS
                                          THE THRIVE EXPERIENCE             FOR EVEN GREATER RESULTS


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                                          .         THRIVE    w             II         BIOTIC               II     SGT FORM


                                          II        THRIVE    MIX                      THIRST               -      PURE


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Case 2:21-cv-02022-DOC-KES Document 8-3 Filed 03/05/21 Page 15 of 182 Page ID #:96
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 + These statements have not been evaluated by the Food and Drug Administration. Thls product is not intended to cure or prevent any disease. Keep of out reach of chlldren. Not suitable for individuals under 18
 years of age. If you are pregnant or breastfeeding consult a doctor before using this product. If you are taking any medication, or have any type of medical issue, consult with a doctor before using this product.




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                              THE     THRIVE       ACHIEVEMENTS        LV             LV        Cl.STOMER   PROM(,TER      CLOUD
                              BRAND                                    REWARDS        LIFE                                 OFFICE
                                                                                                                                           B




                                                   PREMIUM LIFESTYLE SHAKE
         Ultra Micronized+

     Nutrient Mineral Dense
                                                   THRIVE MIX
              Formula+                             THRIVE Mix is the finishing touch to the only Ultra Premium Product Line available -
                                                   THRIVE. This ultra m icronized mix was perfectly designed to complement our THRIVE
                                                   Lifestyle Capsules and OFT Our blend of Vitamins, Minerals, Plant Extracts, Anti-oxidants,
    Probiotic & Enzyme Blend+
                                                   Enzymes, Pro-Biotics, and Amino Acids is the first and only Ultra Premium Mix ever
                                                   developed.
   Antioxidant & Extract Blend+
                                                   THRIVE Mix, combined daily with the THRIVE Capsules and OFT, completes a premium
                                                   lifestyle and creates a premium you. The saying "not all shakes are created equal" is proven
      Lean Muscle Support+
                                                   true by our ultra micronized Premium Lifestyle Mix, which is in a category all by itself. Live
                                                   more, be more, experience more, THRIVE for more with THRIVE Mix.
     Weight Management or
                                                   TRY ALL 4 FLAVORS WITH OUR NEW SAMPLE PACK NOW AVAILABLE 1
               Fitness+

             Gluten Free+




     r1    PRODUCT PDF
              VANILLA MIX




     r1    PRODUCT PDF
              CHOCOLATE MIX
                                               THE FOUNDATION OF
                                               THE THRIVE EXPERIENCE
                                                                                 THRIVE PLUS PRODUCTS
                                                                                 FOR EVEN GREATER RESULTS


     r1    PRODUCT PDF
              STRAWBERRY MIX                   liil      THRIVE    M
                                                                                 [~    ]     DFTTAC               •       SGT REST




     r 1   PRODUCT PDF                         .         THRIVE    w             g           BIOTIC               II      SGT FORM
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Case 2:21-cv-02022-DOC-KES Document 8-3 Filed 03/05/21 Page 17 of 182 Page ID #:98
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                                                                                                                          •=I        BOOST                                 ~ RESTORE
                                                                                                                          ■ BALANCE                                          p      POPCORN CHIPS


                                                                                                                                •    SGT MOVE




 + These statements have not been evaluated by the Food and Drug Administration. This product Is not Intended to cure or prevent any disease. Keep of out reach of chtldren. Not suitable for Individuals under 18
 years of age. If you are pregnant or breastfeeding consult a doctor before using this product. If you are taking any medication, or have any type of medical Issue, consult with a doctor before using this product.




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                         THE     THRIVE       ACHIEVEMENTS        LV            LV        Cl.STOMER    PROM(,TER      CLOUD
                         BRAND                                    REWARDS       LIFE                                  OFFICE
                                                                                                                                      B




                                              DERMA FUSION TECHNOLOGY
      Weight Management

       Supports Appetite
                                              THRIVE I OFT
          Management                          THRIVE Premium Lifestyle OFT is a technology driven breakthrough in Health, Wellness,
                                              Weight Management, and Nutritional Support. Le-Vel's OFT (Derma Fusion Technology)
                                              delivery system is a category creator-the first of its kind-and now, with fusion 2.0
    Derma Fusion Technology
                                              technology, OFT has reached even greater heights. Our OFT delivery system was designed
                                              to infuse the derma (skin) with our unique, premium grade THRIVE Lifestyle Formula,
     2.0 Delivery Technology                  different than the Capsule & Shake formula, and to result in a delivery rate benefiting the
                                              individual over an extended period of time. Simply put-OFT helps you achieve premium
       Nutritional Support                    results for a premium lifestyle. With fusion 2.0 designed to provide greater bioavailability,
                                              absorption, and nutritional support your results with OFT 2.0 should only get better.

                                              When taken as part of the THRIVE 8-Week Experience-in conjunction with the THRIVE
                                              Premium Lifestyle Capsules and the THRIVE Premium Lifestyle Shake Mix-OFT promotes
                                              clean and healthy weight management and an overall healthy lifestyle. Individuals
                                              following this plan will experience ultra premium results, with benefits such as improved
                                              health, wellness, and fitness, as well as, weight management and nutritional support.




     r1   PRODUCT PDF
           THRIVE I DFT 2.0




                                          THE FOUNDATION OF                 THRIVE PLUS PRODUCTS
                                          THE THRIVE EXPERIENCE             FOR EVEN GREATER RESULTS


                                          liil      THRIVE M                •          DFTTAC                ■ SGT REST
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                                          Ill       THRIVE MIX                         THIRST                m       PURE

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                                  #:100        OFT ULTRA    IJPRO


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                                  #:101




            PRODUCT IN                   ORMATION
          Case 2:21-cv-02022-DOC-KES Document 8-3 Filed 03/05/21 Page 21 of 182 Page ID
                                            #:102



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                                                                                                                        > Digestive & lmmun




      Supplement Facts:                                                                                                 Formulated for Women
      Serving Size: 1 capsule                Servings Per Contalner: 60
                                         Amount Per Serving: % Dally Value'"'
                                                                                                                        THRIVE I W is a premium formula and a
      Vitamin A (as Vitamin A acetate)              1500 IU               30%
      Vitamin B1 (Thiamine)                         1.4 mg               100%                                           premium approach to your daily lifestyle.
      Vitamin B2 (Riboflavin)                       1.7 mg               100%
      Vitamin B3 (Niacinamide)                       12mg                 60%                                           The result of scientific research and years spent
      Vitamin B5 (Pantothenic acid)                  10mg                100%
      Vitamin B6 (Pyridoxine)                         2mg                100%
                                                                                                                        perfecting the formula, THRIVE I W is the only
      Follc acid                                   800 mcg               200%                                           premium lifestyle capsule of its kind. THRIVE I W
      Vitamin B12                                  100 mcg              1667%
      Vitamin D3                                     200IU                50%                                           is about reaching for more and achieving more,
      Chromium (as Chromium AAC)                   200 mcg               167%
      Selenium (as Selenium AAC)                    90mcg                125%                                           each and every day. Formulated for every woman
      Vanadium (as Vanadium AAC)                    25 mcg                      *
                                                                                                                        who's thriving for the ultimate daily lifestyle.
      Proprietary Blend:                       527 mg
      B lactis, L. acidophilus, L. casei, L. helveticus, L. salivarius,                                                 our premium grade naturopathic formula of
      L. plantarum, L. rhamnosus, Guarana caffeine, Green tea
      caffeine, Glucosamine, White Willow Ext, Glutamine,
      Green Coffee Bean, PEA, Kelp, lrvingia Extract, BCAA Blend,                                                       Vitamins, Minerals, Plant Extracts, Anti-oxidants,
      Theobromine, Ginger Ext, Citrus Aurantium Ext,Aspartic
      Acid, L-Serine, Grape Seed Ext, CoQ 10, White Tea Ext                                                             Enzymes, Pro-Biotics, and Amino Acids is the first
      * Daily Values not established ** Percent Daily Values                                                            and only Ultra Premium Formula ever developed.
      are based on a 2,000 calorie diet. Your daily values may
      be higher or lower depending on your calorie needs.
                                                                                                                        Live more, be more, experience more,
      Other Ingredients: Stearic Acid, Silica, gelatin
      Contains: Shellfish                                                                                               THRIVE for more with THRIVE IW.


      •These statements have not been evaluated by the Food and Drug Allmm,stration. This product is not intended to diagnose, treat, cure, or prevent any disease.
      The trademarks appearing here belong to Le-Vet Brands, LLC and are registered, pending registraMn, or protected by common law rights or othe,wise are used with the penmission of others or constitute fair use.

iii
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                                          I
                                   ULTRA MICRONIZED NUT




           P R O D U C T I N F O R M AT I O N
                 Case 2:21-cv-02022-DOC-KES Document 8-3 Filed 03/05/21 Page 23 of 182 Page ID
                                                   #:104

                                 'el
                     ULTRA MICRONIZED NUTR




                                                                                                                          ultra premium
                                                                                                                                 at its finest
                                                                                                                                > Ultra Micronized+
                                                                                                                                > Nutrient Mineral Dense Formula+
                                                                                                                                > Probiotic & Enzyme Blend+
                                                                                                                                > Antioxidant & Extract Blend+
                                                                                                                                > Lean Muscle Support+
                                                                                                                                > Weight Management or Fitness+
                                                                                                                                > Gluten Free+

           Supplement Facts:
           Supplement Facts:
           Serving Size: 1 Packet (35g)                 Servings Per Container: 16
                                                                              Amount Per Serving
           ___________________________________________________________________________________________% Daily Value**



                                                                                                                          Formulated for Men & Women
           _Calories                                                                         110
                        __________________________________________________________________________________________
            Total
            _______Fat                                                                        2g                 3%
                              ____________________________________________________________________________________
            _Total      ______Carbohydrate                                                    9g                 3%
                              ____________________________________________________________________________________
             Dietary
             __________Fiber                                                                  5g               20%
                                 _________________________________________________________________________________
             _Sugars                                                                          2g
                        __________________________________________________________________________________________  *
              Protein                                                                       15 g
              ___________________________________________________________________________________________      30%        THRIVE MIX is the finishing touch to the only
              _Vitamin  __________A__(as
                                     ____beta
                                          ______carotene)                               2,500 IU               50%
                                                ____________________________________________________________________
               Vitamin
               ___________C__(as     ____ascorbic
                                          ___________acid)                                24 mg                40%
                                                      _______________________________________________________________     Ultra Premium Product Line available–THRIVE.
               _Vitamin __________D__(as
                                     ____cholecalciferol)                                 200 IU               50%
                                          __________________________________________________________________________
                Vitamin
                ___________E__(as    ____d-alpha
                                          __________tocopheryl   acetate)                10.5 IU               35%
                                                     ________________________________________________________________     This ultra micronized mix was perfectly designed
                _Thiamine
                        ____________(as
                                     ____thiamine
                                          ___________hydrochloride)                    750 mcg                 50%
                                                      _______________________________________________________________
                 Riboflavin                                                            850 mcg                 50%
                 ___________________________________________________________________________________________
                                                                                                                          to complement our THRIVE Lifestyle Capsules and
                 _Vitamin
                        __________B6
                                   ____(as
                                        ____pyridoxine
                                            ____________hydrochloride)                     1 mg                50%
                                                         ____________________________________________________________
                  Folate
                  _________(as  ____folic
                                     _____acid)                                        200 mcg                 50%
                                           _________________________________________________________________________
                  _Biotin                                                              135 mcg                 45%
                        __________________________________________________________________________________________        DFT. Our blend of Vitamins, Minerals, Plant Extracts,
                   Pantothenic
                   ________________Acid  ______(as
                                               ____d-calcium    pantothenate)              4 mg                40%
                                                   _________________________________________________________________
                   _Calcium
                        __________(as
                                   ____tricalcium
                                        _____________phosphate)                         400 mg                 40%
                                                      _______________________________________________________________     Anti-oxidants, Enzymes, Pro-Biotics, and Amino
                    Iodine                                                               60 mcg
                    ___________________________________________________________________________________________40%
                    _Magnesium
                        _______________(as
                     Zinc
                                         ____magnesium
                                             ______________citrate)                     100 mg                 25%
                                                            _________________________________________________________     Acids is the first and only Ultra Premium Mix ever
                     ______(as
                             _____zinc
                                   _____methionine)                                     6.75 mg                45%
                                         ___________________________________________________________________________
                     _Selenium
                        ____________(as
                                     ____selenium
                                          ___________chelate)                            14 mcg                20%
                                                      _______________________________________________________________
                      Copper
                      __________(as
                                 ____copper
                                      _________chelate)                                    1 mg                50%
                                                ____________________________________________________________________
                                                                                                                          developed. THRIVE MIX, combined daily with the
                      _Manganese
                        _______________(as
                                         ____manganese
                                             ______________chelate)                    600 mcg                 30%
                                                            _________________________________________________________
                       Chromium
                       ______________(as
                                      ____chromium
                                           _____________polynicotinate)                  60 mcg                50%
                                                         ____________________________________________________________     THRIVE Capsules and DFT, completes a premium
                       Molybdenum (from sodium chelate)                                  38 mcg                50%
           Proprietary Blend:                                       1595 mg                   *                           lifestyle and creates a premium you. The saying “not
           [Garcinia fruit extract, Oat fiber, Natural Caffeine from Black Tea, Lactobacillus
           Acidophilus, Rice bran, Amylase 5000, Bromelain 600GDU, Cardomom seed
           extract, Cellulase 1000, Ginger root, Lipase1000, Papain 6000, Protease 1000,
           Protease 5000, Cinnamon bark extract]
                                                                                                                          all shakes are created equal" is proven true by our
           * Percent Daily Values are not established.
           **Percent Daily Values are based on a 2,000 calorie diet.                                                      ultra micronized Premium Lifestyle Mix, which is in a
           Your daily values may be higher or lower depending on your calorie needs.
           ___________________________________________________________________________________________
           Other Ingredients: Maltodextrin, Protein Blend (Soy, Pea, Whey concentrate),
           Cellulose, Sunflower Oil, Natural Flavors, Xanthan Gum, Sucralose,
                                                                                                                          category all by itself. Live more, be more, experience
           Magnasweet™(natural flavor), Stevia Leaf Extract.
           Contains: Milk and soy                                                                                         more, THRIVE for more with THRIVE MIX.


           +   These statements have not been evaluated by the Food and Drug Administration. This product is not intended to diagnose, treat, cure, or prevent any disease.
           The trademarks appearing here belong to Le-Vel Brands, LLC and are registered, pending registration, or protected by common law rights or otherwise are used with the permission of others or constitute fair use.
20171207
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                                     CLASSIC GREEN EDITION




            PRODUCT INFORMATION
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                                                                                                             technology
                                                                                                             meets.
                                                                                                             premium
                                                                                                             nutrition


                                                                                                                  > Supports Appetite Management
                                                    CLASSIC GREEN EDITION
                                                                            I
                                                                            I '
                                                                                                                  > Nutritional Support




                                                                                                             THRIVE Premium Lifestyle DFT is a technology driven
                                                                                                             breakthrough in Health, Wellness, Weight Management,
                                                                                                             and Nutritional Support. Le-Vel's DFT (Derma Fusion
                                                                                                             Technology) delivery system is a category creator-the
                                                                                                             first of its kind-and now, with fusion 2.0 technology,
                                                                                                             DFT has reached even greater heights. Our DFT
                                                                                                             delivery system was designed to infuse the derma
                                                                                                             (skin) with our unique, premium grade THRIVE Lifestyle
                                                                                                             Formula, different than the Capsule & Shake formula,
                                                                                                             and to result in a delivery rate benefiting the individual
                                                                                                             over an extended period of time. Simply put-DFT helps

   1HS PRODUCT CONTAINS: Forsl ean•, Green Coffee Bean
                                                                                                             you achieve premium results for a premium lifestyle.
   Extract, Garcinia Cambogia, CoQ1 0, White Willow Bark,                                                    With fusion 2.0 designed to provide greater
   Cosmoperine~. Limonene, Aloe Vera and L-Arginine. (Forslean"
   and Cosmoperine• are registered trademarks of Sabinsa Corp.)                                              bioavailability, absorption, and nutritional support your
                                                                                                             results with DFT 2.0 should only get better.
   NC. StJrtable for individuals lJ'lder 18 years of age.. tf you are pret}'\8frt or bceasff@@ding consult
   a doclor before lJs.'9 this product. tf you are taioog q medication, or haYe any type of medical
   issue,consuttwrth a doclor befCl"@USl'lgthis product. Discontinue use if skin irritaionoca.n.
                                                                                                             When taken as part of the THRIVE 8-Week
   The ndem•ks -               here belong 10 LJ!-Vel Braoos. U.C ,nd ,.. ~ - pe,ding
   registnioon. or protected DJ' oonvnon law rqttsor od'lerw1se are used with the permission of
   others or constitute fa• use.                                                                             Experience-in conjunction with the THRIVE Premium
                                                                                                             Lifestyle Capsules and the THRIVE Premium Lifestyle
                                                                                                             Shake Mix-DFT promotes clean and healthy weight
                                                                                                             management and an overall healthy lifestyle.
                                                                                                             Individuals following this plan will experience ultra
                                                                                                             premium results, with benefits such as improved
                                                                                                             health, wellness, and fitness, as well as, weight
                                                                                                             management and nutritional support.
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                       McArthur Declaration
                             Attachment 3
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•         The Brand   T      THRIVE         T     Achievements   LV rewards   LV Life    Customer             Promoter      Cloud Office   J!:   0




      THRIVE Experience Packs                                                                                                              v




      THRIVE Experience 1, 2, 3                                                                                                            v




      THRIVE Plus Line                                                                                                                     v




      THRIVE SKIN                                                                                                                          A




                                                                                        THRIVE SKIN - 3 Step System


                                  r   • r                                                           Price     $185.00


                                                                                        Autoship Program               Today's Order



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      VIEW DETAILS




                                                                                  THRIVE SKIN · Skincare Sample Kit

                                                                                                     Price    $75.00
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                          SKIN



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      VIEW DETAILS




                                                                               THRIVE SKIN - Infinite CBD Enzyme Peel

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  VIEW DETAILS




                                                   THRIVE SKIN - Infinite CBD Correcting Serum

                                                                      Price        $62.00



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  VIEW DETAILS




                                               THRIVE SKIN - Infinite CBD AM/PM Moisturizing Elixir

                                                                      Price        $62.00


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             SKIN                                          Autoship Program                  Today's Order
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  VIEW DETAILS




                                                 THRIVE SKIN - Infinite Daily Detox Purifying Bar

                                                                      Price        $44.00
                      X
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                                                           Autoship Program                  Today's Order
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  VIEW DETAILS




                                                  THRIVE SKIN - Infinite Charcoal Activated Mask

                                                                      Price        $38.00
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                    SKIN


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                                             0          0
                                  #:110


  VIEW DETAILS




                                    THRIVE SKIN - Infinite Hand & Foot Reparative Cream

                  >>                                      Price   $28.00
                  SKIN




                                               Autoship Program        Today's Order


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  VIEW DETAILS




                                       THRIVE SKIN - Infinite Skin & Hair Peptide Gel

                                                          Price   $56.00
                       (X)
                      THltl V t

                  S           KIN
                                               Autoship Program        Today's Order

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  VIEW DETAILS




                                          THRIVE SKIN - Infinite Detox Body Scrub

                                                          Price   $32.00
                 SKIN



                                               Autoship Program        Today's Order



                                                      0                     0




  VIEW DETAILS




  Other Items                                                                                     v




~L~VeI    Terms       Contact                                                             f   ~   @   a
                                                                  Autoship Program (OJ:       USD $0.00
                                                                      Todav's Order rm:       USO $0.00
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                                  #:111
                                                             Empty Cart   iiii:Hi•@d
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                             Attachment 4
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                                                                         #:113

                                                                                 FOi 15-5027
                                                             CAERS Reports Allegedly Related to Thrive Products (Le-Vel)
                                                                                                    Search Terms: Products Listed

FDA's Center for Food Safety and Applied Nutrition's (CFSAN's) Adverse Event Reporting System (CAERS) is a post-market surveillance system that collects reports about adverse events and product complaints that are allegedly related to
CFSAN-regutated products. These products include conventional foods (and beverages), dietary supplements, infant formulas and cosmetics.

The adverse event reports about a product and the total number of adverse event reports for that product in CAERS only reflect information AS REPORTED and do not represent any conclusion by FDA about whether the product actually caused
the adverse events. The attached reports are what have been entered Into CAERS during the requested dates (the search date used was the CAERS entered date, as opposed to other dates such as the FDA Received Date or CAERS Received
Date, etc.).

The reports submitted to FDA vary in the quality and reliability of the information provided. Some reports to FDA do not necessarily include all relevant data, such as whether an individual also suffered from other medical conditions or used other
products or medications at the same time. Reports may not include accurate or complete contact information for FDA to seek further information about the event, or complainants may choose not to participate in a follow-up investigation. When
important information is missing from a report, it is difficult for FDA to fully evaluate whether the product caused the adverse event or simply coincided with it. There also may be duplicate reports in CAERS for the same adverse event because
multiple people (such as an injured consumer and a health care provider who treated him or her) may have submitted reports.

Because CAERS is constantly updated with new information , the number of reports for a given product and the content of individual reports may change over time.


 Report        Received           Brand/Product                     PRM_Firm Name                                                                 Symptoms                                                                   Outcomes
    #            Date                 Name


                               HEART THRIVE
                               NUTRITIOUS
                                                          THE HEALTHY BAKING                          FEELING OF BODY TEMPERATURE CHANGE, HEADACHE, ABDOMINAL                                                 NON-SERIOUS INJURIES/
132454       5/11/10           MEALS TO GO
                                                          COMPANY                                     PAIN, DIARRHOEA, NAUSEA                                                                                 ILLNESS
                               APPLE ENERGY
                               BAR
                               THRIVE
177300       6/18/14           PREMIUM ICE                THRIVE FROZEN NUTRITION                                                                                                                             NONE
                               CREAM VANILLA
                                                                                                                                                                                                              VISITED AN ER, OTHER
179679       9/29/14            LEVEL THRIVE              UNKNOWN                                     BLOOD PRESSURE INCREASED, ATRIAL FIBRILLATION                                                           SERIOUS (IMPORTANT
                                                                                                                                                                                                              MEDICAL EVENTS)
                                THRIVE "HONEY
179693       7/29/14                                      THRIVE FOODS LLC                                                                                                                                    NONE
                                CRYSTALS"




                                                                                                                             Page 1
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 Report    Received    Brand/Product          PRM_Flrm Name                              Symptoms                                   Outcomes
   #         Date          Name


                      LE-VEL BRANDS,
                      LLC LEVEL
                      THRIVE M          LE-VEL BRANDS LLC
                      (FORMULATED
                      FOR MEN)
                      LE-VEL BRANDS
                      LLC LEVEL
                      THRIVE MW.        LE-VEL BRANDS LLC
                      (PREMIUM
                      LIFESTYE MIX)

180013    10/14/14    LE-VEL BRANDS                                                                                        NONE
                      LLC LEVEL
                      THRIVE
                                        LE-VEL BRANDS LLC
                      (PREMIUM
                      LIFESTYE DFD
                      PATCH
                      LE-VEL BRANDS,
                      LLC LE-VEL
                      THRIVEW
                                        LE-VEL BRANDS LLC
                      (FORMULATED
                      FOR WOMEN)
                      CAPSULES

                      LE-VEL
                                        LE-VEL BRANDS LLC
                      ACTIVATE

                      LEVEL THRIVE
                      FORMULATED
                                        LE-VEL BRANDS LLC
                      FOR MEN &
                      WOMEN
                                                              HEADACHE, BLOOD PRESSURE ABNORMAL, BLOOD PRESSURE
                      LEVEL THRIVE M                                                                                       NON-SERIOUS INJURIES/
180167    10/20/14                                            INCREASED, DEPRESSED MOOD, HYPERHIDROSIS, EUPHORIC MOOD,
                      FORMULATED        LE-VEL BRANDS LLC                                                                  ILLNESS
                                                              PAIN
                      FOR MEN
                      LE-VEL THRIVE -
                      PREMIUM           LE-VEL BRANDS LLC
                      LIFESTYLE OFT
                      LEVEL THRIVE W
                      FORMULATED        LE-VEL BRANDS LLC
                      FOR WOMEN
                                                              DIZZINESS, DEHYDRATION, NAUSEA, HEADACHE, HEART RATE         NON-SERIOUS INJURIES/
180670    1117/14     LE-VEL THRIVE     LE-VEL BRANDS LLC
                                                              INCREASED, WITHDRAWAL SYNDROME                               ILLNESS
                      THRIVE+ POST
180686    11/10/14    ALCOHOL           THRIVECURE.COM                                                                     NONE
                      SUPPLEMENT
                                                              HEADACHE, HEART RATE INCREASED, JOINT SWELLING, WITHDRAWAL   NON-SERIOUS INJURIES/
180706    1117/14     LE-VEL THRIVE     LE-VEL BRANDS LLC
                                                              SYNDROME                                                     ILLNESS

                                                                            Page2
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 Report    Received    Brand/Product         PRM_Firm Name                                Symptoms                                 Outcomes
      #       Date         Name


                                                             BLOOD PRESSURE INCREASED, ANXIETY, HEADACHE, ABDOMINAL      NON-SERIOUS INJURIES/
180707    11/7/14     LE- VEL THRIVE   LE-VEL BRANDS LLC
                                                             DISCOMFORT, HYPERTENSION                                    ILLNESS
                                                                                                                         NON-SERIOUS INJURIES/
180716    11/10/14    LE-VEL THRIVE    LE-VEL BRANDS, LLC    HEART RATE INCREASED
                                                                                                                         ILLNESS
                                                             FEELING JITTERY, ANXIETY, HEADACHE, ABDOMINAL DISCOMFORT,   NON-SERIOUS INJURIES/
181137    12/1/14     LE-VEL THRIVE    LE-VEL BRANDS, LLC
                                                             HEART RATE INCREASED                                        ILLNESS
                                                             TREMOR, CENTRAL NERVOUS SYSTEM STIMULATION, BLOOD           NON-SERIOUS INJURIES/
185496    4/28/15     THRIVE LE-VEL    LE-VEL BRANDS, LLC
                                                             PRESSURE INCREASED, HYPERHIDROSIS                           ILLNESS
186514    5/31/15     LE-VEL THRIVE    LE-VEL BRANDS LLC     BREATH SOUNDS ABNORMAL, ATRIAL FIBRILLATION                 VISITED AN ER
                      THRIVE
                      FORMULATED
186996    9/26/13     FOR WOMEN        UNKNOWN                                                                           NONE
                      PREMIUM
                      LIFESTYLE MIX
                                                                                                                         OTHER SERIOUS (IMPORTANT
187151    6/19/15     THRIVE LEVEL     LE-VEL BRANDS, LLC
                                                                                                                         MEDICAL EVENTS)
                                                                                                                         OTHER SERIOUS (IMPORTANT
187152    6/19/15     THRIVE LE-VEL    LE-VEL BRANDS, LLC    BLOOD PRESSURE INCREASED
                                                                                                                         MEDICAL EVENTS)
                      THRIVE
                                                                                                                         NON-SERIOUS INJURIES/
187474    6/28/15     PREMIUM          NOT AVAILABLE
                                                                                                                         ILLNESS
                      LIFESTYLE MIX

                                       DUN&BRADSTREET
                                                             ABDOMINAL PAIN, DIARRHOEA, SECRETION DISCHARGE,             NON-SERIOUS INJURIES/
187499    6/29/15     LE-VEL THRIVE
                                                             HAEMATOCHEZIA                                               ILLNESS
                                       LAVELLE CO

                      THRIVE
                      PREMIUM
                      LIFESTYLE OFT    LE-VEL BRANDS, LLC
                      WOMEN'S TONE
                      PACK-PATCH
                      THRIVE
                      PREMIUM
                                                             PALPITATIONS, DYSPNOEA, ATRIAL FIBRILLATION, CHEST PAIN,
187570    6/30/15     LIFESTYLE OFT    LE-VEL BRANDS LLC                                                                 HOSP ITALIZATION
                                                             DIZZINESS
                      WOMEN 'S TONE
                      PACK- PILLS
                      THRIVE
                      PREMIUM
                      LIFESTYLE OFT    LE-VEL BRANDS LLC
                      WOMEN'S TONE
                      PACK - SHAKES

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                             Attachment 5
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                                 BBB NATIONAL PROGRAMS
                            The Direct Selling Self-Regulatory Council

                 Case Number: 24-2020 – NGO Inquiry – Le-Vel Brands LLC

                                     COMPANY DESCRIPTION
        Le-Vel Brands LLC (“Le-Vel” or the “Company”) is a multi-level direct selling
 company that was founded in 2012 and sells health and wellness products. The
 Company’s products include dietary supplements containing vitamins, minerals, plant
 extracts, antioxidants, enzymes, probiotics, and amino acids.

                                          BASIS OF INQUIRY
         The Direct Selling Self-Regulatory Council (“DSSRC”) is a national advertising self-
 regulation program administered by BBB National Programs, Inc. Pursuant to section
 D(II) of DSSRC’s Policies & Procedures, DSSRC may commence an inquiry regarding
 the marketing disseminated by a direct selling company and/or its salesforce where the
 subject claims were referred to DSSRC by the Administrator of the Direct Selling
 Association’s Code of Ethics, through media reports, or identified by other parties. Here,
 a nonprofit, non-governmental organization (NGO) dedicated to protecting consumers1
 identified to DSSRC certain product and income claims for Le-Vel.
         Below are representative samples of the types of claims that formed the basis for
 this inquiry.

         1. Health-Related Product Claims

        The representative core health-related product claims that formed the basis of this
 inquiry are set forth below.
        “Do you struggle with any of these issues?
               ✅Headaches.
                 ✅ Struggling to lose weight.
                 ✅Thyroid issues.
                 ✅Anxiety.
                 ✅Depression.
                 ✅Skin issues like psoriasis, eczema & acne.
                 ✅Digestive problems.
                 ✅Sugar cravings.
                 ✅Low energy level.
                 If your answer is, HECK YES! I soooo feel you. I was right there with you.”


 1       See Tina.org for additional information.
                                                    1
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       “Well…Monday I came home from an amazing best friend cruise that my
        roommate ended up having the flu…then the rest of the week we’ve been to the
        vet to get the dogs shots and meds for poor cypress for his allergies…the dr twice
        for one child that has Flu A and the other with a cough but thank God no flu…but
        still no leaving the house so had to miss soccer           We missed Jason Aldean
        but were able to gift our tickets to friends that deserved a date night .. so right now
        friends .. we cheers to the THRIVE EXPERIENCE bc without it I doubt we would
        have avoided the flu, the cough or the chaos!! #fluA #notusetho #thrivegoturback”

       “I LOVE THRIVE…for those of you who don’t know I am diabetic and was
        diagnosed 8 years ago. For 8 years my sugar levels have been out of whack even
        on meds, my fasting blood when id wake up in the mornings was never under 250
        sometimes as high as 350…since I started thrive 1 month ago my sugar levels
        have improved so much. For 3 weeks now my levels ranged from 115 to 130 even
        in the evenings it is still stable. My energy level has increased, my sugar cravings
        are gone (soda free for 3 ½ weeks), I feel absolutely amazing and I’ve lost 10 lbs.
        Its not a diet it’s a lifestyle change. So come people what are you waiting for
        THRIVE WITH ME!”

        2. Earnings Claims

         The NGO also called DSSRC’s attention to a number of earnings claims being
 disseminated by the Company which it believed were atypical. Such earnings claims
 allegedly conveyed the financial gains consumers will achieve by becoming promoters as
 well as that the Company’s promoters can, among other things, become millionaires, get
 out of debt, go on extravagant vacations, and drive luxury cars. The representative claims
 that formed the basis of this inquiry are set forth below.

       Video depicting promoters on vacation holding “millionaire” signs

       “Over 100 Thriving Millionaires awarded”

       “I don’t even know how to begin writing this. Today at noon I officially hit the
        millionaire’s club, making me the youngest person in company history to earn a
        million dollars in commissions

        Just over two years ago I joined this company completely broken, broke & lost with
        no idea how to pull myself out of the hole I was in. What I didn’t know is that god
        had a plan and purpose for my □ YES □ and he was about to show just mighty and
        powerful his love truly is.

        Today isn’t monumental because I want to hold the title of being a millionaire; it’s
        because of what that million dollars represents.”


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                                                                                  Yukon, Oklahoma


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                                                                                  Within 5 months every single item on
                                                                                  this board was crossed off
                                                                                  A reality to this day that shocks me to




                                                                           1,558 likes
                                                                           FEBRUARY 3



                                                                           Add a comment...




        “I was cleaning out my office today and found the very first dream board I made
        when I started my business two years ago. These were those far out dreams that
        I N E V E R thought would be possible in this lifetime

        He was away in the oil field for 14 days straight

        I had 3+ maxed out credit cards

        Over 70k in combined debt

        Zero income to my name

        Zero savings

        All I wanted was to be able to breathe and feel like I could contribute to our life.

        Within 5 months every single item on this bboard was crossed off                                     ”

                                         IDENTIFICATION OF ISSUES

        1(A). Health-Related Product Claims

       According to the NGO, Le-Vel, directly and through its promoters, has been using
 – and continues to use – unsubstantiated, and therefore deceptive, health-related and
 disease-treatment claims to market its flagship product line of supplements, shakes, and
 patches, known collectively as the Thrive experience.
                                                                   3
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        In addition to the representative health-related claims identified above, the NGO
 stated that it has compiled more than 50 additional examples of what it claimed are
 unsubstantiated health and disease-treatment claims made about Thrive products, such
 as being able to treat, cure, or alleviate the symptoms of a number of health-realted
 conditions including, among other, anxiety, breast cancer, blood pressure, depression,
 thyroid issues, the flu, multiple sclerosis, psoriasis, eczema, and diabetes.

        1(B). Alleged COVID-19 Claims

        After the commencement of this inquiry, the NGO brought to DSSRC’s attention
 additional health-related claims being disseminated on behalf of Le-Vel which the NGO
 argued inaccurately implied that the Company’s Thrive products can help treat and/or
 prevent COVID-19 by improving an individual’s immune system. Specifically, the NGO
 pointed to a YouTube video released by the Company that discussed the Company’s
 Thrive products as recharging the immune system. In this YouTube video, the statement
 the Thrive patch is “designed to help recharge the immune system” appears several times
 and is interspersed over illustrations of a human body’s functioning immune system and
 depictions of men and women wearing the Thrive patch while they sleep. According to
 the NGO, the subject YouTube video was released “at a time when the only illness anyone
 anywhere is talking about is the coronavirus” while communicating that Le-Vel products
 recharge the immune system. According to the NGO, “immune boosting claims made in
 the context of the coronavirus are not structure/function claims, but rather implied disease
 treatment and prevention claims, requiring substantiation and FDA approval.”
      The NGO also flagged a Le-Vel promoter’s social media post stating the
 Company’s products would “kick covid19’s ass.”

        2. Earnings Claims

        In addition to the earnings claims set forth above in the Basis of Inquiry, the NGO
 alleged that it had compiled over 100 additional atypical and unsubstantiated earnings
 claims that are or have been disseminated in the marketplace by Le-Vel and/or its
 promoters.
        With respect to earnings claims being disseminated by or on behalf of the
 Company, the NGO argued that Le-Vel and its promoters are using atypical, and
 unsubstantiated income claims regarding the financial success consumers will achieve
 by becoming Company promoters. More specifically, the NGO alleged that Le-Vel and its
 promoters advertise that Le-Vel’s promoters can become millionaires, get out of debt, go
 on extravagant vacations, and drive luxury cars.
         The NGO also asserted that such unqualified earnings claims are not only
 disseminated by the Company’s promoters but also made directly by the Company itself.
 For example, the NGO cited to a February 2020 video published on the Company’s
 YouTube channel, in which the Company’s co-CEOs discuss the benefits of the Company
 and its compensation program while the following images of Le-Vel promoters holding
 “millionaire” signs are shown on the screen:


                                                  4
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              Le-Vel's Jason Camper & Paul Gravette
              2.718 views • Feb 10, 2020
                                                      • · 103   ·• l   ,+ SHARE   =+   SAVE




        Similarly, the NGO alleged that similar messages are being disseminated by
 Company promoters on social media and pointed to a social media post in which a Le-
 Vel promoter touted her achievement of obtaining the Company’s “Millionaire Award.”
        The NGO alleged that the such social media posts are typical of the 140 examples
 of Thrive marketing materials that the NGO compiled and that the internet is “littered” with
 these types of income claims being disseminated on behalf of Le-Vel.
        In response to Le-Vel’s written response to this inquiry, the NGO stated that while
 it appreciated Le-Vel’s compliance program and the efforts made to date to eradicate



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 deceptive marketing, a plethora of deceptive earnings claims have been in circulation for
 years and, it argued, continue during the pendency of this inquiry. 2
        According to the NGO, one reason for this allegedly frequent noncompliance is
 that the Company either does not understand – or is ignoring – Federal Trade
 Commission (“FTC”) law as it pertains to consumer testimonials used in marketing and
 the requirement that they depict results that are “representative of what consumers will
 generally achieve.”3 The NGO noted that such legal requirement are neither laid out in
 the company’s Promoter Agreement nor in any of the other materials provided by the
 Company. Further, the NGO characterized Le-Vel as taking the position that advertising
 atypical claims is appropriate so long as they are truthful, which is contrary to the law.
        Specifically, according to the NGO, Le-Vel claims that it can advertise an auto
 bonus provided to less than one quarter of promoters having at least one active team
 member (i.e., less than one quarter of some percentage of Le-Vel promoters) without
 issue. The NGO further asserted that there can be no dispute that if less than one quarter
 of promoters is the sum total achieving a certain bonus, then that bonus is not typical or
 generally achievable, which according to the NGO means that it is a deceptive marketing
 claim pursuant to FTC law.
         In addition, the NGO claimed that Le-Vel takes the position that it may advertise
 VIP bonuses and vacations achieved by “thousands” of promoters without providing any
 information regarding how many promoters achieve the advertised bonuses – i.e., how
 typical these bonuses and perks are.
         Similarly, with respect to the Company’s “Millionaire Award,” the NGO
 characterized Le-Vel as taking the position that it can advertise that some of its promoters
 have earned $1 million in commissions without disclosing the likelihood of achieving this
 result.4
          In response to Le-Vel’s assertion that several posts identified by the NGO “appear
 to make no claims related to Le-Vel” and cites to four examples from the NGO’s database,
 the NGO maintained that each of the income claims was unquestionably made by a Le-
 Vel promoter and that the words “Le-Vel” or “Thrive” need not be included in each claim
 for it to be attributable to the company in keeping with the FTC’s longstanding practice of

 2       The NGO removed one claim in its own Thrive Health Claims database from a promoter that
 markets a Thrive product that is not associated with Le-vel.
 3       See FTC Guides Concerning the Use of Endorsements and Testimonials in Advertising, 16 CFR
 255.2.
 44
         The NGO also stated that it made two attempts at contacting the company to obtain its income
 disclosure statement, which it alleges is not published, but that Le-vel has not agreed to provide such
 information. DSSRC notes that there is not a per se requirement that a direct selling company possess an
 income disclosure statement. Specifically, § 10 of the FTC’s Business Guidance Concerning Multi-Level
 Marketing states “As stated in the Business Opportunity Rule’s Statement of Basis and Purpose, the
 Commission crafted the Rule to avoid broadly sweeping in MLMs. It did so by tailoring the definition of
 business opportunity to exclude certain types of business assistance common to MLMs. 76 Fed. Reg.
 76816, 76824 (Dec. 8, 2011). It is important to note, however, that the Rule does not explicitly exempt
 MLMs from coverage. As with any other business entity, the determination whether an MLM would be a
 business opportunity to which the Rule applies would have to be made on a case-by-case basis.”
                                                        6
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 examining “the entire mosaic, rather than each tile separately” when reviewing
 advertising.5
         In short, the NGO argued that simply addressing the items the NGO identified is
 not a sufficient remedy and that Le-Vel needs to fully understand and accept the law as
 it pertains to its marketing and the Company’s promoters in order for any guidelines or
 compliance program to be effective.

                                    COMPANY’S POSITION

 Background

         Le-Vel stated that it has millions of customers for its health and wellness products
 including its dietary supplements. As a direct-sales company, Le-Vel maintained that it
 has devoted considerable resources to assuring that its distribution model and marketing
 are fully compliant with FTC guidelines for multilevel marketing (“MLM”) programs. The
 Company stated that each of its promoters’ earnings are based on actual sales, not
 recruiting commissions. The Company further maintained that there is no sign-up fee for
 customers or promoters, and there is never any fee outside of the cost to purchase and
 ship products. The Company informed DSSRC that its product is shipped directly to end
 consumers, and there is no re-selling, which, when combined with the Company’s strict
 inventory policies, precludes inventory loading. Le-Vel stated that its promoters have no
 purchase requirement to earn and receive commissions. The Company stated that it also
 has a 30-day return policy and that the rate of repeat purchases by consumers confirms
 that consumers are happy with the product and there is a substantial market for the
 Company’s products. Le-Vel argued that over 60% of revenue is generated from
 customer sales, that is, sales to individuals who are not involved in the compensation plan
 and cannot receive commissions.
         The Company maintained that its focus on compliance is reflected in a series of
 policies, standard operating procedures, and training materials designed to avoid
 potentially problematic claims. Specifically, Le-Vel stated that it has made good-faith
 efforts to implement and enforce its policies by searching for non-compliant media
 posts, issuing compliance notices to promoters who have violated company policies,
 and, if necessary, suspending or terminating promoters who continue to be in violation
 of the Company’s guidelines.
        In addition, Le-Vel stated that its compliance department is run by a Chief
 Compliance Officer who reports directly to the President of the Company. The compliance
 department consists of 11 employees who constantly monitor the activities of promoters
 to assure compliance with Le-Vel’s policies and provide ongoing training to ensure
 promoters are fully aware of how to be compliant and act accordingly. Le-Vel also
 informed DSSRC that it employs a third-party reputation management service to search
 social media posts and report possible infractions. The Company contended that because

 5
          See FTC Policy Statement of Deception,
 https://www.ftc.gov/system/files/documents/public_statements/410531/831014deceptionstmt.pdf.

                                                      7
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 of its careful and proactive training, the majority of Le-Vel’s promoters understand and
 comply with company policies. The Company noted that it regularly issues notices
 identifying potential violations. In fact, the Company stated that it has issued between 78
 and 123 letters per month flagging non-compliant posts by promoters. Le-Vel argued that
 these letters typically result in quick compliance, but that its compliance department does
 continue to monitor problematic posts and sends monthly follow-up letters to promoters
 if corrective steps are not taken. Ultimately, a promoter may be suspended from the
 program if their posts remain problematic and are not remedied. Le-Vel stated that in
 recent months, approximately 6 promoters per month have been suspended, or
 permanently terminated. Le-Vel also stated that the number of promoters who are
 terminated is less than those that are suspended but that the Company will terminate
 promoters where necessary.

           1(A). Health-Related Product Claims

        Le-Vel argued that it takes a conservative approach to health-related claims and
 that the Company gives new promoters specific instructions on how to avoid improper
 health claims, including claims about treatment or prevention of disease, and provides
 guidance on permitted statements.6 In the specific area of weight loss, the Company
 maintained that its policy strictly conforms to the FTC “Red Flags” guidance and prohibits
 claims “that indicate a large amount of weight loss in a short period of time or statements
 specifically excluding diet and exercise during the weight loss process,” and, in particular,
 claims of weight loss over 2 pounds per week.
        As a general matter, the Company stated that it has restricted permitted health
 and wellness claims to very soft claims that are widely accepted and recognized for the
 vitamin and nutrient ingredients in its products.
         The Company stated that its review of the posts identified by the NGO with
 respect to health-related and disease treatment claims indicate that 19 of the identified
 posts were either removed or could not be found by the Company for other reasons.
 The Company also stated that one of its promoters appeared to have self-corrected her
 social media post without even receiving a compliance notice from Le-Vel. In addition,
 the Company stated that, prior to the commencement of DSSRC’s inquiry, seven of the
 identified social media posts were voluntarily removed or unpublished following the
 Company’s issuance of compliance notices to the promoters who authored those posts.
 For example, a “Thyroid Disorder YouTube” video was removed after Le-Vel issued a
 compliance notice in May of 2016.7 Similarly, Le-Vel stated that an “ADHD, Diabetes
 Pinterest” page was taken down in 2017 after Le-Vel sent a compliance notice in June
 of the same year.8 Le-Vel maintained that both letters identified the problematic
 language in the posts and reminded the promoters in question that they are prohibited
 from making medical or drug-related claims. In addition, Le-Vel stated that at least one
 post (“Anxiety YouTube”) does not to relate to Le-Vel at all, and yet another

 6         In this regard, the Company provided DSSRC with a copy of its Training Guide, Medical/Drug
 Claims.
 7         The Company also provided DSSRC with a copy of its Compliance Letter to this promoter.
 8         The Company provided DSSRC with a copy of its Compliance Letter to this promoter as well.
                                                         8
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 (“Diabetes_Twitter”) is maintained by a commercial Twitter account that is not owned or
 controlled by Le-Vel or any of the Company’s promoters. The Company also pointed
 out that one of the identified posts relates to Le-Vel’s breast cancer awareness PINK
 DFT fundraising campaign and did not contain any health-related claims relating to Le-
 Vel products.
          Le-Vel agreed that 28 of the remaining social media posts identified by the NGO
 violate the Company’s guidelines and stated that compliance action had been taken to
 remove or revise all of such posts.9 The Company further stated that it will continue to
 take appropriate action pursuant to its compliance policies and procedures. While Le-Vel
 stated that it did not believe every aspect of each identified post was necessarily
 objectionable, it recognized that a number of the posts contained certain health-related
 claims that may not be consistent with the Company’s policies. The Company reiterated
 that it takes a very conservative approach to these matters in a concerted effort to avoid
 any consumer misunderstanding. Thus, and in accordance with its policies, Le-Vel stated
 that it had contacted the promoters who are still with the Company and instructed them
 to remove or revise improper aspects of the posts. As of April 6, 2020, the Company
 stated that 21 of the 28 posts that Le-Vel agreed violated the Company’s guidelines were
 removed or revised. The Company further stated that it would continue its compliance
 efforts with respect to the seven remaining posts and that it would take graduated
 enforcement actions if corrective actions are not taken, including suspension and
 termination of promoters’ accounts. Le-Vel stated that it suspended the accounts of 5
 promoters who have failed to revise or remove the posts at issue.

        1(B). Alleged COVID-19 Claims

        With respect to the alleged COVID-19 claims identified by the NGO during the
 pendency of this inquiry, Le-Vel stated that it is incredibly mindful of the rapidly evolving
 pandemic and the health and safety of consumers. Since the current health crisis
 began, Le-Vel stated that it has strongly warned promoters both in writing and verbally
 not to make express or implied claims referencing COVID-19, the coronavirus, or the
 current pandemic. Indeed, the Company provided DSSRC with an April 24, 2020
 “Compliance Update” to promoters that states:
        It is important to understand that our work-at-home opportunity, in addition
        to the health benefits of our products, can in no way be associated with
        COVID-19, coronavirus, the global pandemic, etc. Accordingly, please
        refrain from making any type of post or video that mentions our company or
        products and the coronavirus, COVID-19, pandemic, or any other term or
        phrase related to the coronavirus.
        Le-Vel also provided DSSRC with a document entitled “Compliance Update: DFT
 RECHARGE” dated March 30, 2020 which states “[I]t is important that we do not state
 or imply—in any way—that our products help to prevent or treat any type of cold, flu, or
 virus. This, of course, includes the Coronavirus/Covid-19.” The Company noted that

 9       The Company also noted that three of these 28 posts were authored by a promoter who resigned
 in 2018 and is no longer affiliated with Le-vel’s program.
                                                      9
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 this prohibition is an extension of its existing policies prohibiting disease treatment
 claims.10
         Le-Vel agreed that the social media post with references to COVID-19 was
 inappropriate and violated the Company’s policies and guidelines regarding disease
 treatment claims, as well as the specific prohibition on claims related to the coronavirus
 and/or COVID-19. The Company stated that within 30 minutes of learning of the non-
 compliant post, its Compliance Team sent a notice to the promoter, directing her to take
 down the post. Le-Vel provided DSSRC with a copy of the Company’s Compliance Letter
 dated April 29, 2020. Le-Vel further argued that it has been proactive in issuing
 compliance notices and following up with promoters who have made prohibited health-
 related or business opportunity claims related to COVID-19 and provided DSSRC with
 examples of such communications. The Company reiterated that its compliance staff will
 continue to follow up with the promoter responsible for the post and take progressive
 enforcement action if the promoter does not take corrective steps to come into compliance
 with its policies, including suspension and/or termination of the promoter’s account. 11
        Regarding Le-Vel’s DFT Recharge product, the Company maintained that it does
 not market that product for the treatment or prevention of COVID-19 and that Le-Vel
 instructs promoters not to “state or imply that DFT Recharge, or any other of our products,
 prevents, treats, cures, or helps with the Coronavirus/Covid-19.” Conversely with respect
 to the video regarding Le-Vel’s DFT Recharge product, the Company argued that
 representations that Le-Vel’s products support the immune system are well-accepted
 structure-function claims that are in compliance with the Company’s guidelines and
 federal law.12 Le-Vel argued that it has long made such claims with respect to products
 containing vitamins, minerals, and other ingredients that are understood to have that
 effect on the immune system. Indeed, the Company argued that such claims are
 pervasive in the marketplace for a range of wellness products, and that it would represent
 a dramatic and unwarranted shift to impose new restrictions on such claims.

         2. Earnings Claims

        The Company argued that it also takes a conservative approach to earnings
 claims. Le-Vel stated that specific individual earnings may not be used in marketing

 10        See, e.g., Le-vel Policies and Procedures, Section 2.20 (last rev. November 1, 2017): (“Le-vel’s
 products are not intended to help, treat, cure, mitigate, or diagnose any type of disease or
 disorder. Promoters understand that they will not say directly or indirectly that any Le-vel product is FDA
 approved, or discuss or suggest that any diagnosis, evaluation, prognosis, description, treatment,
 therapy, or management or remedy of illness, ailment or disease can be improved by consumption or
 application of Le-vel products. Promoters understand that Le-vel products are not offered, intended or
 considered as medicinal treatment of any disorder or disease, either mental or physical.”).
 11        The social media post in question has since been removed.
 12        65 Fed. Reg. 1,000, 1,029 (2000) (“An intact immune system has several functions. In addition to
 their role in the defense against pathogens, certain components of the immune system, namely white blood
 cells, have other important functions. For example, white blood cells play an essential role in the
 phagocytosis and disposal of aging red blood cells or otherwise damaged cells. A statement of support for
 the immune system, by itself, conveys no specific reference to disease treatment or prevention. The claim
 that vitamin A is necessary to maintaining a healthy immune response does not imply that a specific disease
 or class of diseases will be prevented.”).
                                                         10
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 material and promoters may not make statements that are likely to mislead consumers
 or prospective promoters. As an initial matter, the Company stated that its review of the
 earnings claims identified by the NGO found that three of the identified posts were either
 removed or could not be found for other reasons. Further, the Company maintained that
 several posts identified by the NGO appeared to make no claims related to Le-Vel at all.
 Of the remaining identified earnings claims, Le-Vel agreed that 67 of those claims
 violated the Company’s policies and/or made prohibited earnings claims or references.
 Le-Vel stated that these types of claims are not consistent with the Company’s guidelines
 and that it has taken swift compliance action to ensure that such posts would be removed
 or revised. The Company stated that it removed a significant number of these claims and
 that its compliance staff would continue to follow up to ensure compliance with Le-Vel’s
 policies.
          Le-Vel also stated that the problematic posts containing earnings claims were
 concentrated among a small number of promoters (15) and that the small number of
 promoters will enable the Company’s staff to focus more attention on these promoters,
 review their posts and any patterns of potentially problematic behavior, and provide
 further education on the Company’s policies and procedures. Thus, Le-Vel maintained
 there was no indication of widespread promoter non-compliance with its policies or
 applicable law and, further, that the Company has been able to focus its attention on
 promoters who present more compliance issues for the Company. When potential
 violations of the Company’s guidelines have been identified, Le-Vel stated that it has
 acted quickly to remediate the issue, as evidenced by its various actions and the number
 of social media posts that have since been removed or revised.
         Le-Vel rejected the NGO’s assertion that the Company takes “the position that
 advertising atypical claims is appropriate so long as they are truthful.” The Company
 maintained that it has never taken this position and that it in fact goes to great lengths in
 its training to make sure that promoters understand the law on this point. 13 Indeed, Le-
 Vel stated that the Company’s policy prohibits specific earnings claims for this reason and
 that the Company’s policies and promoter training emphasize to promotors that individual
 claims are not permitted solely because they are true as to that individual. In this regard,
 Le-Vel maintained that its guidelines and training reflect and reinforce current federal law.
       Le-Vel did argue, however, that several categories of the posts identified by the
 NGO should not be considered problematic or deceptive. For example, many of the social
 media posts identified by the NGO reference auto bonuses, VIP bonuses, or earned trips
 or getaways. The Company stated that these rewards are readily achievable by
 promoters.




 13      The Company cited to its “Compliance Education and Strategy” Training Video which states “The
 problem is, just because it’s true doesn’t mean that we can say that to the world. And why is that? It’s
 because we’re selling a product behind that story. And so the FTC is concerned about us telling a story that
 could possibly mislead somebody to believe that our products can do for them exactly what it’s done for
 you. So that’s why we just have to be careful.” The Company also cited to its “Compliance Training
 Opportunity” Email Template (“Making income earnings claims, even if true, is against our policies.”).
                                                         11
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         Specifically, Le-Vel argued that it provides qualifying promoters with auto bonus
 payments of up to $800 per month towards a car payment as opposed to an actual car
 purchased for the promoter by Le-Vel. The Company also offers a tiered bonus for
 achieving certain requirements within the promoter’s first 14 days in the program (i.e.,
 VIP bonuses). Le-Vel also stated that it rewards qualifying promoters with all-inclusive
 getaway trips. Le-Vel stated that in March 2020, 23.7% of promoters with at least one
 active team member qualified for the auto bonus. Similarly, Le-Vel stated that, as of April
 2020, 87,957 promoters achieved a VIP bonus since April 2013. Likewise, the Company
 maintained that over 1,000 promoters qualified for Le-Vel’s last getaway trip, and Le-Vel
 has had over 15,000 individuals qualify for getaway trips in the past 5 years. The
 Company stated that, while it will remind its promoters to describe the auto bonus
 accurately and not claim that the Company has given them a free car, it maintained
 statements regarding such programs are otherwise accurate and reasonable.
        Le-Vel also maintained that the NGO has mischaracterized and taken out of
 context the video of Le-Vel’s “Millionaire Award” ceremony, in which Le-Vel celebrates
 promoters who have earned $1 million in lifetime commissions. Le-Vel submitted that
 these are not traditional earnings claims but rather the “Millionaire Award” ceremony is a
 ceremony at which top performers are recognized which it argued is a universal practice
 for sales organizations. Le-Vel maintained that the videos and other related company
 statements about the Millionaire Award make explicit that the promoters featured are a
 select group as to whom the Company is rightly proud.14 Le-Vel also noted that the
 segment featuring the Millionaire Award ceremony appears for only a few seconds in the
 nearly five-minute YouTube video, which it argued raised a question of whether and how
 many promoters have seen the segment.
        Le-Vel also stated that, in some instances, promoters may refer to their or their
 teams’ total sales volumes although individual or group commissions are not mentioned.
 Total sales statistics are another routinely disclosed statistic for sales organizations and
 do not pose any deception concerns according to Le-Vel. In fact, the Company argued
 that such information confirms its observation that there is a legitimate demand for Le-
 Vel’s products and that the Company is making substantial actual sales.


 14        https://www.facebook.com/JasonCamperCEO/photos/we-now-have-41-Le-vel-millionaires-brand-
 promoters-who-have-earned-1-million-dol/2032109570350908/ (“We now have 41 Le-vel Millionaires
 (Brand Promoters who have earned 1 million dollars in lifetime commissions from selling the fastest growing
 health and wellness program in the world - The Thrive 8 Week Experience). It's funny, we never set out to
 help people "become a millionaire" we just wanted to bring to market the most innovative, unique and
 technology based nutritional products ever seen. Turns out, there's a lot of demand in the market place for
 what the Thrive Experience does. We'll always be a product based and product first company, however, it's
 incredible to see this too. Here's to those people in Le-vel and outside of Le-vel, that chase what they want
 in life hard enough and long enough to see their goals come true. I know my goals didn't come easy, it was
 17 plus years of what I thought was mostly failure mixed with a little success. Looking back, those failures
 were the learning ground, the boot camp if you will, to make Le-vel / Thrive what it is today - with the help
 of the Lord Almighty and my fabulous business partner @paul_gravette, of course. Congratulations to the
 Le-vel Millionaires of today and the army of the ones to come, cheers.
 #thankfulthursday #lvmillionares #werejustgettingstarted”

                                                          12
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         Le-Vel argued that there is another reason it is confident that promoters in its
 program are not at risk for loss of money or other harm: Le-Vel does not require any
 payments or fees to sign up for or participate in the Company’s program, and Le-Vel’s
 auto bonus, VIP bonuses, travel benefits, and Millionaire Award all can be earned without
 any out-of-pocket expenditures by the Company’s promoters. This, the Company
 maintained, eliminates a crucial factor driving enforcement by the FTC and other
 authorities with respect to income claims: the concern that lavish lifestyle claims could
 entice consumers to make large initial payments to get into a program and continue to
 make large payments, when in fact most participants in such programs do not earn back
 their initial and continuing investments. Because Le-Vel does not require such payments,
 it maintains that the Company’s program does not threaten the types of harm about which
 regulators are legitimately concerned: heavy losses by a substantial portion of the
 participant population. While the Company’s position is that the claims permitted by Le-
 Vel’s policies are fair and accurate, Le-Vel nonetheless stated that it believes that
 consumers cannot be harmed by joining the program because they will not lose money
 by such participation.
         Specifically, Le-Vel maintained that a fundamental legal flaw in the NGO’s analysis
 is to lump award and bonus claims indiscriminately together in the broader category of
 income claims and treat them as if they are all the same. According to Le-Vel, once these
 claims are properly categorized, it is not at all apparent that the type of disclosure the
 NGO advocates here would be appropriate. Rather, Le-Vel argued that the frequency of
 such awards is not typically disclosed by direct-sales or multi-level marketing companies.
 The Company further maintained that as is the case for all advertising, the interpretation
 of specific marketing material is context and fact-specific, and not all claims are
 interpreted in the same way by consumers. Partly because of this diverse universe of
 potential claims, Le-Vel argued that direct-sales marketers are not required to “calculate
 a precise mathematical average for the expected results among all potential [promoters]
 in all situations.” See Statement, David C. Vladeck, Fmr. Dir., Bureau of Consumer
 Protection, Fed. Trade Comm’n, A Look Forward with the FTC: Advertising and Marketing
 Enforcement Challenges (Feb. 3, 2010).15 Le-Vel further maintained that the FTC’s
 Endorsement Guides expressly acknowledge that the “representativeness” inquiry ask
 whether a claim represents what consumers could generally expect to achieve “in the
 depicted circumstances,” in “actual, albeit variable conditions of use.” 16 C.F.R.
 §255.2(b).
        According to Le-Vel, approaching awards claims from this starting point makes
 apparent that discussion of a provision in a compensation plan, like the Le-Vel Rewards
 Plan, that a participant may be given an award or bonus for reaching a specified level of
 sales is obviously a different kind of claim than predicting what a typical consumer may
 expect for future earnings, or weight loss, or some other target that may land anywhere
 within a broad range of outcomes. According to the Company, reasonable prospective
 promoters understand that there are specific requirements that must be met for these
 awards because of the clearly-posted qualification criteria for these awards and bonuses

         15
                 https://www.ftc.gov/sites/default/files/documents/public_statements/look-forward-ftc-
 advertising-and-marketing-enforcement-challenges/100203eraspeech.pdf
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 and the nature of the direct-selling business.16 Le-Vel argued that the NGO’s inflexible
 application of the FTC’s Endorsement Guides’ disclosure standards completely ignored
 the nuances and context-sensitive nature of the subject. 17
         Regarding the NGO’s contention that Le-Vel has advertised its “Millionaire Award”
 without disclosing the likelihood of a promoter reaching this level, Le-Vel argued that it
 does make very clear that only a small number and percentage of promoters get this
 recognition.18 The Company argued that thousands of new promoters sign up in a typical
 month and that there can be no question in the minds of prospective promoters that this
 award is achieved by only a small group of top performers over the total span of years
 that they participate in the program. Nonetheless, the Company stated that it will go to
 even greater lengths on its website to ensure that there is never any doubt that the
 “Millionaire Award” is an exceptional achievement.

         Dispute Regarding the NGO’s Characterization of Le-Vel’s Compliance

        Le-Vel rejected the NGO’s overall characterization of its marketing message;
 specifically, that there is a vast sea of problematic posts from the Company’s promoters
 and that the Company has done little about them. Le-Vel maintained that such
 characterization is categorically untrue. Specifically, the Company argued that the NGO
 had evidently been collecting posts for a long period of time but failed to correct and
 update its own database when posts were taken down, corrected, or shown to be
 compliant.
        In particular, the NGO claimed that as of April 15, 2020, 80% of the income claims
 and nearly 40% of the health claims it identified in this inquiry were still in publication. Le-
 Vel characterized this assertion as “wildly inaccurate.” In addition to the many posts that
 Le-Vel did not even believe to be non-compliant, the Company argued that the NGO
 ignored in its calculations those posts where the non-compliant claim had been edited or
 removed in order to bring the post into compliance with the Company’s policies and
 applicable law, as well as other posts that do not relate to Le-Vel at all. Le-Vel submitted
 that with respect to the health claims the NGO identified, nearly 45% of the posts were
 removed prior to March 11, 2020, the date of the NGO’s original letter to the DSSRC. Le-
 Vel further stated that prior to April 15 19, a further 40% of the posts had been either



 16       In this regard, the Company cited to the “Guides Concerning the Use of Endorsements and
 Testimonials in Advertising,” 73 Fed. Reg. 72,374, 72,378–79 (2008) (“[If an advertisement for a casino
 features a $100,000 slot machine winner, consumers likely understand from the nature of gambling that the
 winner’s experience is not generally representative of those who use the casino’s slot machines.”).
 17       The Company further stated that it takes comfort in the statistics that confirm that the promoters
 who post about these rewards are not outliers, and that such rewards are generally achievable among
 promoters who engage in sales (beyond purchases for personal consumption). Le-vel stated that
 significant numbers of promoters earn these benefits, that there is no systemic impediment to qualifying
 for these rewards, and the benefits are therefore real and not illusory.
 18       Supra Note 14; Le-vel Back Office Resources, (noting that “[t]he Millionaire Award is the most
 prestigious award a Promoter can earn” and that “100 Promoters have become Le-vel Millionaires”).
 19       This is the date on which the NGO claimed that 80% of the earnings claims and 40% of the health-
 related claims it had identified in this inquiry remained online.
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 removed or revised in compliance with Le-Vel’s guidelines and federal law. 20 Thus, Le-
 Vel rejected the NGO’s claim that 40% of the health-related claims identified by the NGO
 have not been addressed and this does not even account for the posts that required no
 edits or removal. With respect to the income claims identified, Le-Vel stated that two
 posts had been removed before the inquiry was commenced and, prior to April 15, over
 50% of the posts cited by the NGO had been removed or revised (arguing that this
 percentage of posts edited or removed does not include the substantial number of posts
 that required no action). Consequently, Le-Vel maintained that the NGO’s claim of 80%
 of earnings claims remaining online as of April 15, 2020 was flatly inaccurate. The
 Company further maintained that the NGO pointing DSSRC to posts that were already
 out of circulation (or that were unobjectionable for other reasons) demonstrates that its
 analysis is outdated and indicates a lack of care and attention to this matter and that the
 NGO is relying on misleading and inaccurate claim statistics.21
        Le-Vel disputed the NGO’s argument that Le-Vel’s compliance program is
 seemingly too robust, proactive, and conservative in nature due to the number of
 compliance notices the Company sends to promoters. The Company stated that the
 DSSRC has made clear that maintenance of a robust and proactive compliance program
 is commendable and indeed necessary, not a negative sign. See dōTERRA Int’l LLC,
 DSSRC Case No. 17-2020 at 13–14 (Apr. 3, 2020) (explaining that the company
 “provided DSSRC with specific information regarding its proactive monitoring process of
 supervising and assuring that distributers are compliant with company policies regarding
 claim dissemination and that it has sufficient procedures in place to respond to any
 actions by distributors that are potentially in violation of applicable laws and regulations”.
 Le-Vel noted that the company had been responsive when unauthorized health and
 product claims have been brought to its attention. Furthermore, Le-Vel informed DSSRC
 that over 1,000 individuals sign up to become Le-Vel promoters every week. Thus, Le-
 Vel argued that the number of letters the Company sends per month thus represents a
 tiny proportion of the total number of Company promoters.
         Le-Vel argued that the NGO’s evident expectation that non-compliant claims, or
 even borderline and questionable claims, be removed immediately is unreasonable,
 unrealistic, and not the position previously taken by the DSSRC. Le-Vel also reiterated
 that it takes a very conservative approach to compliance matters and argued that this
 means that some promoters might receive notices about posts that a regulator might find
 unobjectionable, but which Le-Vel thought it would be best to remove or revise in an
 abundance of caution. In addition, Le-Vel stated that a majority of the Company’s notices
 are sent to promoters in the very early stages of their participation in the program. The

 20       As support for its position, the Company submitted to DSSRC a chart of information on the
 removal or revision of posts identified by the NGO which it argued demonstrated that virtually every post
 was either removed or revised as requested by Le-vel’s compliance department within a day of the
 promoter being contacted.
 21       The Company noted that it was particularly concerned about the NGO’s approach to this inquiry
 when it learned that NGO recently posted an article on its website repeating these claims, without
 considering the Company’s response. The Company submitted that the public posting of this article, while
 this inquiry was ongoing was inappropriate and inconsistent with the DSSRC self-regulatory process.


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 Company argued that this approach not only serves as protective compliance, but also
 as a training exercise in which posts that are defensible but potentially problematic still
 lead to compliance notices and allows the Company to further train and educate newer
 promoters directly.
         Le-Vel noted that it does not have the ability to remove promoters’ claims on social
 media, but instead must ask and encourage promoters to remove and revise their posts.
 This process can take some time as Le-Vel reaches out to the promoter and the
 Company and the promoter engage in a dialogue about the non-compliant claim and how
 to bring the post into compliance with company guidelines. For those posts made by
 entities that are not related to or controlled by Le-Vel, or by promoters who have resigned
 or have been terminated from the program, it is possible such posts may remain online
 if the entities and former promoters are not reachable or are unwilling to remove or revise
 the posts. The Company contended that the NGO’s arguments ignore the reality that Le-
 Vel will not be able to unilaterally remove such claims from the public domain.
 Nevertheless, consistent with DSSRC guidance, Le-Vel stated that it uses its best efforts
 to contact with these entities and former promoters to compel them to bring down or edit
 their posts, making multiple attempts when necessary.22

                             ANALYSIS AND RECOMMENDATION

         1(A). Health-Related Product Claims

        As discussed above, Le-Vel argued that it takes a conservative approach to health-
 related claims, and that its own policies limit permissible claims to “soft” claims and
 prohibit Le-Vel’s promoters from making aggressive health-related or disease treatment
 claims.
        DSSRC acknowledges that the Company addressed the representative health-
 related claims identified in DSSRC’s opening letter to the Company. With respect to the
 53 other health-related claims that formed the basis of this inquiry, DSSRC acknowledges
 and appreciates the Company’s efforts to have 7 of the identified health-related posts
 removed from circulation prior to the commencement of this inquiry. DSSRC also
 appreciates the Company providing DSSRC with an overview of its compliance process
 ranging from issuance of compliance letters to suspension or termination of a promoter’s
 account in some cases.23
       Le-Vel conceded that another 28 health-related claims identified in this inquiry
 were against the Company’s policies and it took action to have such claims removed
 22       See dōTERRA Int’l LLC, DSSRC Case No. 17-2020 at 13–14 (noting that “[r]emoving unauthorized
 content that was communicated by inactive distributors or by individuals who had no previous relationship
 with dōTERRA was, not surprisingly, more of a challenge,” and acknowledging the company’s “good faith
 efforts” to remove such posts); Global Domains Int’l, DSSRC Case No. 15-2020 (Mar. 23, 2020)
 (“acknowledg[ing] and appreciat[ing] the Company’s efforts to have claims made by inactive distributors
 removed from circulation”).
 23       As DSSRC has previously stated with respect to earnings claims, “Direct selling companies should
 engage in effective training, monitoring, and enforcement procedures to provide reasonable assurance that
 claims made by salesforce members are truthful and non-misleading.” DSSRC Guidance on Earnings
 Claims for the Direct Selling Industry (“Earnings Guidance”), § 4.
                                                        16
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 resulting in the removal of 21 of the 28 claims. DSSRC acknowledges these voluntary
 steps which DSSRC found to be necessary and appropriate. DSSRC recommends that,
 to the extent Le-Vel has not already been able to address the seven additional claims, it
 uses bona fide good faith efforts to have such claims removed or significantly modified.24
         With respect to the parties’ dispute regarding the Company’s response to claims
 raised in this inquiry, DSSRC notes that the vast majority of the health-related claims
 identified in this inquiry have been removed from circulation and acknowledges Le-Vel’s
 commitment to continue to pursue and remedy any non-compliant claims. DSSRC also
 recommends that Le-Vel engage in effective training and monitoring of its promoters and
 use appropriate enforcement procedures to provide reasonable assurance that claims
 made by salesforce members are truthful and non-misleading; in particular, that the
 Company’s promoters refrain from making aggressive health-related and/or disease
 treatment or prevention claims.25
         1(B). Alleged COVID-19 Claims
        DSSRC has previously urged all direct selling companies and their salesforces to
 ensure all claims made about health-related products are accurate and to be especially
 mindful of expressly claiming or implying that their products can treat, alleviate, or cure
 the symptoms of COVID-19, prevent symptoms of COVID-19, boost or improve immune
 function to prevent COVID-19, or eliminate all traces of COVID-19. While
 unprecedented research efforts are taking place on a global scale, according to the
 World Health Organization, there are no current cures or direct treatments for the novel
 coronavirus. In the United States, the Centers for Disease Control and Prevention and
 the Food and Drug Administration (“FDA”) have both stated that there are no approved
 vaccines, drugs, or investigational products currently available to treat or prevent
 COVID-19.
        DSSRC acknowledged and appreciated the Company’s proactive steps to warn
 its promoters not to make express or implied claims referencing COVID-19, the
 coronavirus, or the current pandemic. DSSRC also acknowledged and appreciated the
 Company’s compliance updates that it provided to DSSRC making clear that any such
 claims regarding the current health crisis are prohibited by the Company and that such

 24       Le-vel noted in this inquiry that it can difficult for a direct selling company to have claims removed
 from circulation when such claims were disseminated by a promoter who is no longer active. DSSRC
 acknowledges that a direct selling company may not be able to require a former or inactive promoter to
 remove a claim. In that instance, DSSRC nonetheless recommends that the direct selling company make
 a bona fide good faith effort to have the improper claim removed including a written request to remove
 improper claims made by promoters that have since become inactive. In addition, if the social media
 platform where the subject post was made provides a mechanism for reporting trademark or copyright
 violations, DSSRC recommends that the direct selling company promptly utilize such mechanism and
 seek removal of the subject claims and posts. If the subject claim occurred on a website or platform
 without a reporting mechanism, DSSRC recommends that in addition to contacting the former promoter
 in writing as described above, the Company contact the website or platform in writing and request
 removal of the subject claim or post. Young Living Essential Oils, LLC, Case No. 13-2020.
 25       DSSRC encourages direct selling companies to engage in robust monitoring of its salesforce and
 does not believe that a certain volume of compliance actions will be proof that a direct selling company is
 not engaging in appropriate training and monitoring of its salesforce members especially when a direct
 selling company may have hundreds or thousands of new salesforce members enrolling each month.
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 prohibition is an extension of Le-Vel’s existing policies prohibiting disease treatment
 claims.
       With respect to the social media post identified by the NGO, DSSRC
 acknowledged Le-Vel’s prompt actions to seek removal of the post referencing COVID-
 19 and confirmed that the post was removed. DSSRC determined that removal of such
 post was necessary and appropriate.

        DFT: Recharge YouTube Video

         With respect to the 58 second YouTube Video “DFT: Recharge” disseminated by
 Le-Vel, the NGO argued that because the video was released “at a time when the only
 illness anyone anywhere is talking about is the coronavirus” -- claims that the Company’s
 products recharge the immune system are immune boosting claims made in the context
 of the coronavirus and that they are therefore not structure/function claims, but rather
 implied disease treatment and prevention claims, requiring substantiation and FDA
 approval. By contrast, and as discussed more fully in the Company’s Position portion of
 this decision, the Company argued that general claims that Le-Vel’s products support the
 immune system are well-accepted structure-function claims in compliance with federal
 law.
         An advertiser is responsible for all reasonable interpretations of its claims, not
 simply the messages the advertiser intended to convey. 26 In the absence of extrinsic
 evidence regarding a claim’s net impression to a reasonable consumer such as a
 consumer perception survey, self-regulatory precedent makes clear that DSSRC will step
 into the shoes of the consumer to determine the reasonable takeaway from the subject
 claim. In doing so, DSSRC will examine the totality or overall net impression created by
 the claim as a whole, not merely words or phrases standing alone, taking into
 consideration both the words and the visual images.”27 DSSRC determined that although
 the video makes general claims that the product is designed to help recharge the immune
 system, it contains no reference to COVID-19, the current pandemic, or the product’s
 ability to help the human body fight off any specific health condition, disease, germ or
 virus. Nor does the video contain even a slight reference to the current public health
 situation (e.g. “now more than ever…” or “in these uncertain times…”). Accordingly,
 DSSRC concluded that the DFT: Recharge YouTube video would not be reasonably
 interpreted by consumers as meaning the Company’s products can help treat or prevent
 COVID-19.

 26      Rubbermaid, Inc. (FreshWorks Produce Saver Containers), Report #6102, NAD/CARU Case
 Reports (August 2017); Verizon Communications, Inc. (Google Pixel Phone), Report #6086, NAD/CARU
 Case Reports (May 2016); Philips Oral Healthcare, LLC (Sonicare FlexCare PlatinumToothbrushes),
 Report #6073, NAD/CARU Case Reports (April 2017); Philips Oral Healthcare, LLC (Sonicare Electric
 Toothbrushes), Report #5963, NAD/CARU Case Reports (June 2016); ANTECH Diagnostics, Inc.
 (AccuPlex4 Diagnostic Screening Test), NAD Case #5732 (07/01/14); Unilever United States, Inc. (Degree
 Ultra Clear Antiperspirant), Report #4560, NAD/CARU Case Reports (September 2006).
 27      See, Philips Oral Healthcare, LLC (Sonicare FlexCare PlatinumToothbrushes), Report #6073,
 NAD/CARU Case Reports (April 2017); The Clorox Company (Glad Tall Kitchen Drawstring Bags), Report
 #5951, NAD/CARU Case Reports (May 2016); The Procter & Gamble Company (Swiffer Dust & Shine
 Furniture Spray with Febreze Freshness), Report #5141, NAD/CARU Case Reports (February 2010).
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         2. Earnings Claims

         While Le-Vel stated that its review of the earnings claims identified in this inquiry
 indicated that three of the identified posts were either removed or could not be found for
 other reasons and that several posts identified appeared to make no claims related to
 Le-Vel at all, the Company agreed that 67 of the posts violated the Company’s policies
 and that a number of the identified posts made prohibited specific earnings claims or
 references. Le-Vel stated that these types of claims are not consistent with the
 Company’s guidelines and that it undertook swift compliance action to ensure that such
 posts would be removed or revised. The Company stated that it had a significant number
 of these claims removed and that its compliance staff would continue to follow up to
 ensure compliance with Le-Vel’s policies. DSSRC determined that such actions are
 necessary and appropriate. DSSRC also recommends that that Le-Vel engage in
 effective training and monitoring of its promoters and use appropriate enforcement
 procedures to provide reasonable assurance that earnings claims made by its promoters
 are substantiated, contain appropriate disclosures and are not misleading.

         Auto Bonuses and Other Incentives for Promoters

         For purposes of a DSSRC inquiry, an earnings claim is any claim, express or
 implied, that conveys that salesforce members may earn or have earned company-
 sponsored incentives, including representations that suggest that the ability to make
 lifestyle purchases – such as homes, vehicles, vacations – that are related to income
 earned from direct selling.28

       As noted in the FTC’s 2018 Business Guidance Concerning Multi-level Marketing,
 an MLM’s compensation structure may give its participants incentives to make
 representations about the business opportunity to current or prospective participants. As
 a consequence, an MLM should (i) direct its participants not to make false, misleading, or
 unsubstantiated representations and (ii) monitor its participants so they don’t make false,
 misleading, or unsubstantiated representations. 29

       A number of social media posts identified in this inquiry reference auto bonuses,
 VIP bonuses, or earned trips or getaways. Although Le-Vel maintained that these rewards

 28       See Earnings Guidance, Section 2(B).
 29       FTC Business Guidance Concerning Multi-level Marketing, section 13, sixth bullet point. As
 discussed above, DSSRC notes that Le-vel argued its business model distinguishes it from other multi-
 level marketers and that as a result its promoters in its program are not at risk for loss of money or other
 harm which its argues is a crucial factor driving enforcement by the FTC and other authorities with respect
 to income claims. While that may be true, a potential recruit may nonetheless suffer harm if the recruit is
 induced to spend time pursing the business opportunity to achieve a certain level of financial success or
 incentive reward if such success or reward is not generally achievable by the typical program participant.
 Regardless, business model questions and related issues regarding promoter purchasing requirements,
 refund policies, inventory loading and the like are beyond the jurisdictional purview of DSSRC which is
 limited to addressing “earnings claims (including lifestyle representations) and product (including services)
 claims made by direct selling companies and their salesforce members to ensure the accuracy and
 adequate substantiation of those claims.” DSSRC Policies and Procedures, I(A).
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 are “readily achievable by promoters,” DSSRC remained concerned that incentives such
 as a car bonus or incentive trip reward would not be generally expected or achievable by
 the typical Le-Vel promoter and, as such, a disclosure of generally expected performance
 would be necessary.30

         More specifically, the Company informed DSSRC that it provides qualifying
 promoters with auto bonus payments of up to $800 per month towards a car payment
 and that in March 2020, 23.7% of promoters with at least one active team member
 qualified for the auto bonus. Thus, although the auto bonus may be “readily achievable,”
 it cannot be considered typical or generally expected if over 75% of a certain subset of
 the Company’s promoters (those with one active team member) do not receive the
 incentive. Accordingly, DSSRC recommends that any advertising materials (e.g., social
 media posts) disseminated by Le-Vel or its promoters regarding the auto bonus be
 accompanied by a clear and conspicuous disclosure indicating the percentage of active
 Company promotors who have achieved the award.
         In addition, DSSRC noted that while Le-Vel’s data which indicated that 87,957
 promoters achieved a VIP bonus since April 2013 is helpful, it should not conflate details
 of other types of bonus or incentives within a disclosure that is used to qualify a claim
 that pertains specifically to auto bonuses. Similarly, DSSRC’s recommendation to
 include a disclosure of generally expected results to social media posts referencing an
 auto bonus should be similarly implemented to qualify all claims made by the Company
 or its promoters that reference Company incentives or bonuses such as getaway trips
 and VIP Bonuses if they would otherwise not be typically expected by potential Le-Vel
 promoters.31

         Millionaire Award

        As noted above, the NGO cited to a February 2020 video published on the
 Company’s YouTube channel, in which Le-Vel’s executives discuss the benefits of the
 Company, including its compensation program, while at one point in the video images of
 Le-Vel promoters holding “millionaire” signs are shown on the screen. Le-Vel argued that
 the video of Le-Vel’s “Millionaire Award” ceremony, in which the Company recognizes
 promoters who have earned $1 million in lifetime commissions, was taken out of context
 and that videos and other related company statements make explicit that the promoters
 recognized are a select group of exceptionally performing promoters. The Company also
 noted that the video of the ceremony appears for only a few seconds in the nearly five-

 30      According to section 255.2 (b) of Guides Concerning the Use of Endorsements and Testimonials
 in Advertising, an advertisement containing an endorsement relating the experience of one or more
 consumers on a central or key attribute of the product or service also will likely be interpreted as
 representing that the endorser’s experience is representative of what consumers will generally achieve with
 the advertised product or service in actual, albeit variable, conditions of use. Therefore, an advertiser should
 possess and rely upon adequate substantiation for this representation. If the advertiser does not have
 substantiation that the endorser’s experience is representative of what consumers will generally achieve,
 the advertisement should clearly and conspicuously disclose the generally expected performance in the
 depicted circumstances.
 31      Aloette Cosmetics, Case No. 12-2020 (“The same principles that apply to testimonial earnings
 claims hold true with respect to claims regarding the ability of salesforce members to earn incentive trip.”)
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 minute YouTube video, much of which does not discuss the earnings opportunity
 associated with being a Le-Vel promoter.
         With respect to the video showing some Le-Vel promoters holding signs stating
 “Millionaire,” DSSRC notes that its Earnings Guidance states that:
         When evaluating express and implied messages from an earnings claim,
         DSSRC will review the totality of the claim including its words, images, and
         context in order to determine the “net impression” or the takeaway message
         conveyed to the audience. The relevant audience to consider is that of a
         reasonable consumer when the claim is made to a general audience, such
         as by posting the claim on public social media or the internet. The relevant
         audience may be more limited, for example, when the claim is made to a
         specifically targeted group or at a particular event. For example, if a claim
         is made at an event limited to the top 1% of salesforce members, the
         relevant inquiry is the net impression of a reasonable top 1% salesforce
         member.
 Here, the images of salesforce members holding signs that state “Millionaire” were taken
 at a live event and, thus, the relevant audience at that live event may have been more
 limited than that of a reasonable consumer if, for example, the audience at such event
 was comprised of top Le-Vel promoters. Nonetheless, as shown in the video, albeit briefly,
 the “Millionaire” signs are presented in an unqualified context and, since the video
 depicting a portion of the live event was disseminated on the internet, “[t]he relevant
 audience to consider is that of a reasonable consumer… .” While DSSRC acknowledges
 that Le-Vel committed to improve its disclosures to clarify that the “Millionaire Award” is
 an exceptional achievement, DSSRC recommends that the Company remove the
 “Millionaire” images from the video.32
      The NGO also cited to a social media post that it argued conveyed misleading
 messages regarding a promoter’s achieving the Company’s Millionaire Award:




 32       Consistent with the FTC Guide Concerning the Use of Endorsements and Testimonials in
 Advertising, DSSRC would typically recommend that, if the Company does not have substantiation that the
 experience of the individuals depicted is representative of what consumers will generally achieve, then the
 Company should remove the “Millionaire” images from the videos or, alternatively, modify them to “clearly
 and conspicuously disclose the generally expected performance in the depicted circumstances” at the time
 the claim is made i.e., what percentage of Le-vel promotors earn the depicted status. 32 16 CFR §255.2.
 Here, however, given that the “Millionaire” image appears only briefly in the video, DSSRC does not believe
 that a clear and conspicuous disclosure could be made to clarify both that the award is achievable only by
 a select number of exceptionally performing promoters and that the term “millionaire” in this context refers
 to promoters who have earned over a million dollars in commissions cumulatively in their time as promoters
 for Le-vel.
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                                                                          em.hening • Follow
                                                                          OkhJhomo City, Oklahoma



                                                                          em.henl ng I don't know how to even
                                                                          begin writing this. □
                                                                          Today at noon I officially hit the
                                                                          m illionaires club, making me the
                                                                          youngest person in company history to
                                                                          earn a million dollars In commissions

                                                                          Just over two years ago I Joined this
                                                                          company completely broken. broke &
                                                                          lost with no idea how to pull myself out
                                                                          of the hole I was in. What I d idn't know
                                                                          Is that god had a plan and purpose for
                                                                          my • YES • and he was about to show
                                                                          Just m ighty and powerful his love truly
                                                                           Is.
                                                                          Today isn't monumental because I want
                                                                          to hold the title of being a m llllonalre; it's
                                                                          because of what that m illion dollars
                                                                          represents.
                                                                          For us to be able to bring in that much




 As discussed above with respect to the “Millionaire Award” video, the statement that
 accompanies the photo “Today at noon I officially hit the millionaires club” is presented in
 an unqualified context with no disclosure of generally expected results. 33 Accordingly,
 with respect to that specific claim in text that the promoter “hit the millionaires club,”
 DSSRC would typically recommend that such claim, and any similar claims that may be
 disseminated in the marketplace, be discontinued or significantly modified to clearly and
 conspicuously disclose the generally expected performance in the depicted
 circumstances.

         This particular social media post, however, is potentially problematic for yet
 another reason. Specifically, the photo which is central to the social media post contains
 an image of the promoter alongside large balloons spelling out “1,000,000” and the word
 “millionaire.” It is axiomatic that an advertiser has the burden to support all reasonable
 interpretations of its claims and not simply the messages it intended to convey. The
 Procter & Gamble Company (Pampers Easy Ups), Report #6045, NAD/CARU Case
 Reports (January 2017); Substantiation Policy Statement, appended to Thompson
 Medical Co., 104 F.T.C. 648 (1984). While the intended message may have been that the
 promoter in question is stating that she cumulatively earned a million dollars in
 commissions in her entire time as a promoter, yet another reasonable interpretation of
 the photo could also be that being a promoter for Le-Vel allowed her to become a
 “millionaire” or a person whose wealth amounts to a million or more dollars or who is or



 33        DSSRC also notes that there is no disclosure as to how likely it is that a promoter could achieve
 this in just over two years.
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 has become wealthy.34 Accordingly, DSSRC recommends that this claim, and similar
 claims presented in this context, be discontinued.

                                          CONCLUSION

        DSSRC acknowledged and appreciated the voluntary steps Le-Vel undertook to
 have aggressive health-related claims removed from circulation which DSSRC found to
 be necessary and appropriate. DSSRC recommends that, to the extent Le-Vel has not
 already been able to address the additional health-related claims, that it use bona fide
 good faith efforts to have such claims removed or significantly modified. DSSRC also
 recommends that Le-Vel engage in effective training and monitoring of its promoters and
 use appropriate enforcement procedures to provide reasonable assurance that claims
 made by salesforce members are truthful and non-misleading; in particular, that the
 Company’s promoters refrain from making strong health-related and/or disease treatment
 or prevention claims.

         With respect to any express or implied product performance claims that Le-Vel
 products may treat, cure, or prevent COVID-19, DSSRC acknowledged and
 appreciated the Company’s proactive steps to warn its promoters not to make express
 or implied claims referencing COVID-19 or the current pandemic. DSSRC also
 acknowledged and appreciated the Company’s compliance updates that it provided to
 DSSRC making clear that any such claims regarding the current health crisis are
 prohibited by the Company and that such prohibition is an extension of Le-Vel’s existing
 policies prohibiting disease treatment claims. As to the specific social media post
 identified by the NGO, DSSRC acknowledged Le-Vel’s prompt actions to have the
 social media post referencing COVID-19 removed and determined that removal of such
 post was necessary and appropriate.
        As to Le-Vel’s DFT: Recharge YouTube video, DSSRC determined that although
 the video makes general claims that the product is designed to help recharge the
 immune system, it contains no reference to COVID-19, the current health crisis, or the
 product’s ability to help the human body fight off any specific health condition.
 Accordingly, DSSRC concluded that the DFT: Recharge YouTube video would not be
 reasonably interpreted by consumers as meaning the Company’s products can help
 treat or prevent COVID-19.
        DSSRC acknowledged and appreciated that a significant number of the earnings
 claims at issue in the inquiry were removed as well as the Company’s commitment that
 its compliance staff would continue to follow up to ensure compliance with Le-Vel’s
 policies. DSSRC determined that such actions are necessary and appropriate. DSSRC
 also recommends that that Le-Vel engage in effective training and monitoring of its
 promoters and use appropriate enforcement procedures to provide reasonable
 assurance that earnings claims made by its promoters are substantiated, contain
 appropriate disclosures and are not misleading.



 34    https://www.dictionary.com/browse/millionaire
                                                       23
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        With respect to auto bonus and other incentive programs for Le-Vel promoters,
 DSSRC recommends that any advertising materials (e.g., social media posts)
 disseminated by Le-Vel or its promoters regarding the auto bonus be accompanied by a
 clear and conspicuous disclosure indicating the percentage of active Company promotors
 who have achieved the award if it would otherwise not be typically expected by potential
 Le-Vel promoters.
         Finally, while the Company celebrating and recognizing its top promoters who
 have achieved the Company’s Millionaire Award may be appropriate at, for example, a
 live event with a select audience, DSSRC recommends that the Company remove the
 “Millionaire” images from the video at issue in this inquiry and that was disseminated on
 the internet and discontinue any similar claims disseminated to a general audience.
 DSSRC also encourages the Company to reinforce with its promoters that any
 representations made at events with a select audience or on a platform limited to Le-
 Vel’s top sales leaders should not be repurposed and/or disseminated in a different
 context or platform or to a different audience. Likewise, DSSRC recommends that the
 Le-Vel promoter’s social media post regarding the Millionaire Award, and any similar
 claims, be discontinued.
       DSSRC will continue to monitor the messages disseminated by the Company’s
 promoters on social media and will take prompt and necessary steps to initiate a
 compliance inquiry should it identify an ongoing proliferation of unsupported product or
 income claims disseminated by Le-Vel and/or Le-Vel promoters.

                                COMPANY STATEMENT

        Le-Vel respects the self-regulatory process and appreciates the time and attention
 the DSSRC has devoted to this matter.                Le-Vel appreciates the DSSRC’s
 acknowledgment of the robustness and effectiveness of the Company’s compliance
 program, as well as the DSSRC’s recognition that—at the time of the initial complaint—
 many of the materials cited by the Complainant had already been taken down, were in
 the process of coming down, or were not problematic for various reasons. Although Le-
 Vel understands that business model questions are beyond the jurisdiction of the DSSRC,
 see note 29 above, Le-Vel nevertheless stresses that promoters in its program are not at
 risk for loss of money or other harm, as (1) Le-Vel does not require any upfront or
 continuing payments or fees to sign up for, participate in, or receive commissions through
 the Company’s program; (2) Le-Vel ships product directly to the end consumer as
 opposed to utilizing a reselling model; and (3) Le-Vel enjoys strong direct consumer
 demand for its products wholly outside the promoter system. Le-Vel will be guided by the
 DSSRC recommendations in its ongoing marketing programs.


 (Case No. 24-2020 HJS, closed on 08/31/2020)
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                       McArthur Declaration
                             Attachment 6
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What You Should Know about Thrive
  truthinadvertising.org/what-you-should-know-about-thrive/




Editor’s Note: Updates have been posted at the end of this article.
Lifestyle getaways, luxury cars and a steady stream of income await affiliates of the Thrive
experience. Or at least that’s how Le-Vel markets the opportunity to sell — and recruit others
to sell — its flagship product line of supplements, shakes and patches, which are known
collectively as the Thrive experience. But there are a few things you should know about this
MLM, which started in 2012, and what it claims is “the hottest weight-loss, nutrition and
fitness plan sweeping North America.” TINA.org first warned readers about Le-Vel and
Thrive last November but here’s a more detailed look. First things first…

Does it work?

In a welcome video on its website, Le-Vel claims that the Thrive product line — which costs
between $100 and $300 per month on an auto-delivery program — enables consumers to
“reach peak physical and mental levels.” But a TINA.org review of the company’s website did
not find any clinical studies supporting the advertised claims. In lieu of clinical data, Le-Vel
points to glowing testimonials as proof that the product works. However, TINA.org found
that several of these testimonials come from people whose Facebook activity indicates
they have pitched the Thrive product themselves at one point or another. That is to say, they
are past or present Le-Vel affiliates — or what the company calls “brand promoters” or
simply “promoters” — whose views as salespeople may very well be skewed.
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Adverse health events mounting

Since 2013, the FDA has received 16 adverse health event reports concerning Thrive
products, documents obtained by TINA.org through a Freedom of Information Act (FOIA)
request show. Common symptoms reported so far have included abdominal pain, headache
and increased blood pressure. Three of the 16 reports cited the need for hospitalization or a
visit to the emergency room. Manufacturers of dietary supplements like Thrive are not
required to obtain FDA approval before going to market but they are required to report
adverse health events to the agency.

MIA income disclosures

Want to know what percentage of promoters make what amount of money selling Thrive and
recruiting others to do the same? Too bad. While Le-Vel says in the aforementioned welcome
video that you can “build weekly residual income” as a promoter for its flagship brand,
TINA.org looked high and low but could not locate an income disclosure statement on the
company’s website.

Furthermore, Le-Vel’s rewards plan is riddled with confusing terminology — including
acronyms like BV whose meanings aren’t fully explained — that makes it tough to decipher
exactly how a promoter qualifies for all the perks, such as the “lifestyle getaways.” But
perhaps most telling is this disclaimer on the company’s policies, terms and conditions
page (emphasis added): “The earnings of Le-Vel Promoters relating to Le-Vel Brands LLC
and Le-Vel.com are not necessarily a representation of the income, if any, that a Le-Vel
Brand Promoter can or will earn through his or her participation in the Le-Vel Compensation
Plan.”
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Not OK in the UK

The Advertising Standards Authority (ASA) recently found Le-Vel in violation of the U.K.
regulatory body’s advertising code. The health claims at issue included “enhanced weight
management,” “immune support” and “ph balancing blend.” The claims appeared in a
Facebook ad and Le-Vel claimed it was not placed by one of its promoters, though the copy
starkly resemblances how Le-Vel describes the same supplement on its own website. In the
end, the ASA ruled that Le-Vel, as “beneficiaries of the marketing material,” was responsible
for the ad and said that it must not appear again in its current form.

A company removed from its people?

Complaints against Le-Vel filed with the FTC since 2012, also obtained by TINA.org through
an FOIA request, show a company that is hard to reach when its promoters call with
problems — and there have been problems. Among other things, promoters have complained
about not being paid their promised commissions, not canceling customers’ auto-shipment
deliveries when requested, and about difficulties getting answers about the products’
nutritional information.

One promoter wrote:

    When a customer asks about an ingredient and specifics to the product, somebody that works
    for Le-Vel and created the product should be able to answer.

Another wrote:
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     This company is a joke and a scam that preys on desperate people who want to lose weight and
     then continues to charge, even when the orders have been ‘canceled’ on their ‘cloud.’ Then,
     you can’t even call and speak to anyone.

MLM hopping

Last September, Le-Vel Brands shared on its Facebook page, which has more than 370,000
followers, the “Thrive experience” of one Jon Holbrook. But Holbrook is no ordinary
promoter. He is the former vice chairman and chief investment officer of WakeUpNow, a
multi-level marketing company that folded its affiliate operations in the U.S. earlier this year
amid allegations of malfeasance and gross mismanagement.

B-B-Bad rating

As of this writing, Le-Vel has an F rating with the Better Business Bureau, aka the BBB. (BBB
ratings fluctuate. For current ratings click here. See more here about BBB ratings.)

TINA.org reached out to Le-Vel for information on its average incomes and the issues raised
by promoters in complaints. The company has not responded.

For more of TINA.org’s coverage of MLMs click here.

UPDATES

9/25/20: The Direct Selling Self-Regulatory Council (DSSRC) has issued a case decision
based on a TINA.org complaint finding that Le-Vel and its distributors were making
inappropriate health claims about the Thrive product line and atypical income claims about
the company’s business opportunity. The decision concluded by stating that “DSSRC will
continue to monitor the messages disseminated by the Company’s promoters … and will take
prompt and necessary steps … should it identify an ongoing proliferation of unsupported
product or income claims.”

3/11/20: A TINA.org investigation has cataloged 140 instances in which Le-Vel and/or its
distributors have made or referenced atypical earnings claims that lack appropriate legal
disclosures, in addition to more than 50 instances from 2016 to 2020 in which Le-Vel and/or
its distributors have either made or referenced claims that the Thrive product line can treat,
cure, alleviate the symptoms of, prevent, or reduce the risk of developing diseases and
disorders.

CORRECTION 2/25/16: An earlier version of this post incorrectly stated the amount of
adverse events reported to the FDA regarding Thrive. The post has been updated to reflect
the accurate number.
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                       McArthur Declaration
                             Attachment 7
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Abby Langer
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               THRIVE by Le-Vel Review... ls
                                                                                                               RECENT POSTS

               'Natural' Always Better?                                                                         Do Prwit Exogenous Ketones
                                                                                                                Replace a Ketogenic Diet? March
                                                                                                                2, 2021

                                                                                                                Where Does Fat Go When We
                                                                                                                Lose Weight? February 22,
                                                                                                                2021

                                                                                                                Want to Quit Sugar? Here's Why
                                                                                                                You Don't Have To. February
                                                                                                                15, 2021

                                                                                                                Evertywell Food Sensitivity
                                                                                                                Testing - Are Food Sensitivity
                                                                                                                Tests Legit? February 11, 2021



                                                                                                               ABOUT ABBY




               ~1_1 _'"-'-~-----~1 1.. ,.....
               This Thrive by level review is an opinion piece.

               It's funny how many people have started emailing me after reading my reviews of lsagenix,
               ~ g y . Zij.a,J ~ ~ and l:::ieI.balife. Most of these emails involve requests for
               me to review various diet products and programs. Thanks to everyone who has given me
               such positive feedback and taken the time to shoot me a message to ask for a review. I love
               taking requests for recipes, blog posts, and diet reviews!


                                                                                                               Abby Langer has been a
                                                                                                               Registered Dietitian since 1999.
                                                                                                               Educated at Dalhousie
                                                                                                               University in Halifax, Nova
                                                                                                               Scotia and Loyola University in
                                                                                                               Chicago, Abby has worked
                                              Hidden Valley Ranch Di p s
                                              Hiclclen Valey Ranch dt>S are the refresher you,
                                                                                                               extensively both in nutrition
                                              snackin11's beenlacking GeldiWlll!I'                             management and in clinical
                                                                                                               nutrition.
                                                                                    Get Recipes

                                             W MEDIAVINE                              Repoit thlS ad           Read More

               I've gotten a lot of requests for lately for a THRIVE by LeVel review. Just like a few of the
               other products I've reviewed, I had zero idea about this one and went over to their website     ABBY ' S NEW BOOK
               to investigate.

                0   AbbyRantsCollagen


                                                                                                                  good food
                                            Abby Rants:                                                                bad diet
                                    Should I Be Taking Collagen?
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            ~you,.-.,_.bei,f,sh>,tly,0:011                                                                      "In a world overflowing with
             ►                                                                                         ~    :   nutritional nonsense, Abby
                                                                                                                Langer is the rare expert
            The philosophy of THRIVE is st ated on the website:                                                 bringing light to dietary
            Le-Ve/ was creared and envisioned wirh a grearer purpose, a premium plan. This plan is nor          darkness. Good Food, Bad Diet
                                                                                                                is exceptional."
            ro creare a producr, or a producr line, burro build a global brand, a new icon.
            The largesr and mosr successful companies in rhe world are exrremelygood ar one rhing.              - James Fell -
            They build brands, nor producrs. They are so good ar rhis one focus, rhey can firerally pur         author of The Holy Shit
            rheir logo on anyrhing and iris passionarely accepred worldwide. The qualiry, passion and           Momenr

            efficacy wirh one producr line, will flawlessly conrinue on ro all producr lines, because rhe       "You can trust Abby Langer to
            rrue focus, our passion will always remain ar irs inceprion, The Brand: Le-Ve/.                     get you out of the diet trap and
            What I'm reading is that the company's boldly stated confidence is about 100 on a scale of 1-       onto a truly healthy path for
                                                                                                                life. She not only has the
            10, but guess what?
                                                                                                                nutrition expertise, she has a
            The greatest branding can't hide a faulty product. even if you declare that product as              gutsy way of cutting through all
            'premium'. Putting your logo on something and having it accepted just because of that is the        the BS, and she offers clear,
            stuff that big brands like Coca Cota are made of, and even those brands are having issues           practical strategies for making
            with this now. lf you're selling supplements and making big claims about their efficacy, your       lasting change."
            success rates will define your brand, not the other way around.
                                                                                                                - Elfie Krieger, MS, RD -
            This is another product that's sold using multi level marketing. There are incentives to sell it    Food Nerwork and Public
            to your friends - including a free month of THRIVE if you sell to two or three people. I'm          Television persona/fry, and
            pretty sure that a lot of you have been approached by someone trying to pawn some of this           award-winning cookbook
            stuff off on you. Some guy on my Unkedln just tried to sell me some. Um. No way, buddy.             author
            *blocks him*
                                                                                                                Find Out More




                                              Hidden Valley Ranch Dips
                                              Hidden Vah y Raich diis are the relfeshef you,



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                                                 -
                                              snacking'sbeenlackill!I GeldiWlfl!I'


                                                                                     Get Recipes

                                             M MEDIAVINE                              Repoit ltus ad


            One thing I think you should know is that at the time of writing of this Thrive by level review,
            there has never been any research done to verify that THRIVE works. There are testimonials
            though! The testimonials on the THRIVE site seem to be written in that familiar Facebook
            font, which suggests that they've been pulled off THRIVE's Facebook page. Wherever they
            came from, testimonials are really not worth the paper (or computer) they're written on.
            What's really worth something is some good solid research on the product. Search high and
            low, but you won't find any on THRIVE. There is none.

            Because I'm a dietitian and people generally want me to review stuff for weight
            management purposes, I'm going to take a mostly weight-loss assessment of this program,
            even though THRIVE makes other, non-weight loss claims as well, depending on which
            product you're looking at.
                                                                                                                                            RepoflthlSad
            THRIVE is based on an "8-Week Experience", during which the company encourages users to
            apply a patch to their skin to deliver the active ingredients. No shakes or pills needed! High
                                                                                                                TOPICS
            tech!! Thrive's Dermal Fusion Technology delivers the 'all natural formula' (which we know
            means exactly nothing in regulatory terms) transdermally, which means through your skin.             Ask Abby (1)
            like the nicotine patch. the birth control patch. and the anti-nausea patch, the method isn't
            really new, but fair enough to say it hasn't been done for supplements.                              Blog Posts ( 192)

            The company claims that 'The DFT formula supports energy & circulation. promoting clean.             Diet Reviews (84)
            healthy weight management.'
                                                                                                                 Learning Curve (20)

                                                                                                                 Recipes (148)

                                                                                                                 Videos (1)




                                                                                                                ARCHIVES
                                              Hidden Valley Ranch Dips
                                              Hidden va11ey Ranch~ are the 1elresher you1
                                              snadong's been lacklll!I Gel d1ppmgl                               Select Month

                                              - - v.li.-,eR""°"                      GetRec, pe1

                                                                                      Repoitlhisad              SIGN UP TO STAY
                                                                                                                UPDATED
            I'm not sure what all natural. clean. and healthy weight management is. but congratulations
            to Thrive for using three huge, completely meaningless nutrition buzzwords in one                   Sign up for my newsletter to
            paragraph! What a feat!                                                                             stay up to date on my posts!

            They also state that there is better bioavailability of the product's active ingredients when        First Name
            absorbed in patch form, and that the DFT formula doesn't aid in muscle breakdown or
            deterioration like other weight loss products.                                                       Last Name


            You should know though that unless you're taking amphetamines. no weight loss producr                E-Mail Address

            causes muscle breakdown. That happens when you injure your muscles physically or                     Go
            chemically. Muscle deterioration, or atrophy. happens when you either don't move enough
            or don't eat enough. So THRIVE's claim is essentially meaningless.

            As an aside. 1love that the patches are all pretty with colors and designs. as if people aren't                                        0, X

            going to look at you like you have 2 heads for wearing a weight-loss patch if it looks cute. My
            personal fave is the one that says, 'hey girl ....you thrivin?' Ha ha ha!! Good one, THRIVE!!

            The company goes on to encourage people to take a whole load of their products together,
            for the 'premium' experience. It states: "For Premium results, use THRIVE DFT daily, with
            THRIVE Capsule and THRIVE Shake Mix." Okay, wait. Didn't they say something about no pills
            or shakes? What the...
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                  VI IC lt 11115 I I IUlt'--CU dUUUl ll I C :>l lC ,::. U ldl lt ICI C :> d '--UI llll lUUU:> UJJ:>CII, I 11 ICdl I, u::.1115 lt IC



                                                                           #:149
             THRIVE OFT is one thing, but then if you really want great results, the company encourages
             the OFT Ultra. And then, if you want really really REALLY great results, the company suggests
                                                                                                           JUST DROPPED
                  the Black Label, which is more effective than even the OFT Ultra, 'tc1king the whole THRIVE 8
                  week experience to a whole new level'.




                                                              Hidden Valley Ranch Dips
                                                              Hidden Valev Ranch d~ are ltle 1effesllef vou,
                                                              snadong's been laOOng Gel diPl)lllg•


                                                                                                   GetRecipel

                                                                                                    Reportll11s ad


                   I mean, if I was gullible and not well-versed in science, they might convince me t o spend
                  tons of money using this upselling. 'go hard or go home' tactic. But me being who I am, I just
                  get a headache looking at the relentless 'convince you to spend more and more of your
                   money to get an even better result' BS on the site.

                  So what's in this stuff, anyhow?

                  Let's take a look at the plain old THRIVE OFT. the super crazy premium THRIVE Black
                  Label. the THRIVE shake. and a brief peek at the vitamin capsules (Mor W. depending
                  on your gender)

                  THRIVE OFT: Forslean®, Green Coffee Bean Extract, Garcinia Cambogia, CoQ10, White
                  Willow Bark, Cosmoperine®.

                  Black Label: Forslean®, Green Coffee Bean Extract, Garcinia Cambogia, CoQ10,
                  Cosmoperine®, Satiereal Saffron Extract, Green Tea Extract, White Willow Bark, 5-HTP
                  (amino acid), L-Theanine (amino acid), L-Arginine {amino acid), Quercetin (flavonoid),
                  Guarana (herbal stimulant), Verba Mate (herbal stimulant), B12 (vitamin).

                  THRIVE Shake: 123 calories, 1Sg protein, 3g fiber, 2g fat, 11 g carbohydrate, with most of the
                  vitamins and minerals you'll find in any multivitamin (or ahem a balanced diet).

                  It also contains a 'proprietary blend' that consists of some digestive and fruit enzymes
                  (mostly useless), caffeine (drink a coffee), lactobacillus (eat a yogurt), plus ginger root,
                  cardamom, and cinnamon (sounds like my mom's rice pudding recipe).

                  What's the evidence?

                  Thrive's Forslean® is basically a herb called Coleus Forskohlii, which has not been shown in
                  any reputable studies t o cause weight loss. This is despite its reputation to the contrary and
                  its long-term use in Asian medicine for things like skin conditions, asthma. and obesity,
                  among others.




                  Cosmoperine® is a metabolite of black pepper which is supposed to enhance the
                  absorption of Forslean and that seems to be its main purpose in this product.

                  What they've basically done is throw a bunch of ingredients together. Some. like white
                  willow bark, CoQ10, enzymes, green coffee bean, and amino acids, have never been proven
                  to cause weight loss, and some - like garcinia cambogia, saffron extract, and yerba mate -
                  have weak evidence that they might work for weight loss. But none of this evidence has
                  been studied in trials using a patch delivery system. And neither has Thrive. Oh, I already
                  said that. Just checking that you get that.no evidence!

                  The THRIVE shake is super low in calories and I can't find anything in it of any value. What's
                  it's purpose, anyways? I can't figure it out. Eat real food.

                  The THRIVE Mand W are supplements that have everything that a multivitamin has, plus a
                  few enzymes and probiotics. FYI: No one needs 1667% of their ORI for vitamin B12. Yikers.

                  One of the claims for this product is that it ·calms general discomfort'. Like the discomfort I
                  feel when I think of people buying THRIVE and believing that it works better than REAL
                  FOOD?

                  In Short:

                   No matter how confident a company is about its brand, if it can't produce evidence that its
                   product works, then why are you buying it?

                   Fancy science like cute patches ('hey girl. you thrivin'?') pales in comparison when it doesn't
                   necessarily deliver promised results.

                  There is really no compelling evidence that any of the ingredients i n THRIVE cause weight
                  loss. In fact, you can get most of the ingredients in a multivitamin and some real food.
                  Supplements like garcinia, green coffee bean, and white willow etc etc aren't magical. If they
                  were magical weight loss miracles, someone would have caught on by now.




                                                                           -
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                                                                        Unlock 1150
                                                                          in H-D~ gift cards.
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            Throwing a bunch of herbs and other ingredients together doesn't instantly make them
            effective. Weak evidence+ weak evidence equals.....weak evidence?

            And no, they don't become magic when combined with THRIVE's other ingredients or
            delivered by patch, so don't even go there.

            It's not cool to upsell all over the place and make vulnerable people feel like they need to
            buy a premium product plus plus plus to get the best results. If THRIVE OFT really works,
            why is it less effective than the Black Label? Make a product that works without upselling.

            Multi Level Marketing is annoying. Stop bugging your friends to buy diet supplements. It
            makes everyone uncomfortable and they just don't have the heart to tell you.

            The Verdict?

            Leave it. I believe it's expensive multivitamins and useless other stuff packaged in a pretty
            way. And those patches... cute, but I'm not convinced they increase the efficacy of the
            product. Nothing magical to see here, people. Move on.




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           « Previous: Scale Obsession: 4 Reasons Why
                                                              Next: One•Pot Ch icken with Preserved Lemon
           You Should Throw Your Scale Into The
                                                                                          and Couscous »
           Garbage
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                        2021 Tiguan

                        Lower
                        maintenance
                        cost
                        than Honda, Toyota and
                        Subaru compact SUVs.*                                                         Learn m
                        *View key claim details.

                                                            BLOG



                                        AN UNBIASED REVIEW OF LE-VEL THRIVE
                                                    SEPTEMBER 20, 2017
 116
SHARES




                               Share                Tweet
                                                                                              116
                                                                                             SHARES

                               Pin
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                    Read this honest Le-vel Thrive Review by a holistic nutritionist before you invest in weight loss patches,
                    capsules and shakes!



                    WHAT IS LE-VEL THRIVE?

                    Out of all the review requests I’ve received recently, Le-Vel Thrive has been at the top of the list.


                    I get more requests to review this company than any other, and I can see why. They’re exploding.


                    The company started in 2012 and has made a billion dollars in the past five years. That’s pretty

                    impressive. But I have to be honest, something about this company rings really dishonest to me.

 116
SHARES
                    Le-Vel is a direct selling company offering a so-called “health and wellness experience”. Thrive is a

                    three-step regimen consisting of Thrive capsules, Thrive Lifestyle Mix and Thrive DFT.


                    The whole thing is meant as a premium lifestyle plan to help individuals reach peak physical and mental

                    levels.


                    MY LE-VEL THRIVE REVIEW – IS THIS LEGIT OR ONE BIG
                    SCAM?

                    Let’s take a closer look. Starting with the customer service experience.


                    You have to comment on their Facebook page, be contacted by a rep, and only then can you be invited
                    to create an account – and only after that can you reach out to customer service to ask any questions.


                    I would have just looked at the information provided by the company on the ingredients they use, their

                    practices, the benefits of their products – but there is next to none. Which is incredibly bizarre.


                    I first asked if the products were certified GMO-free and was told not that they were certified but that
                    they were “GMO-free.”


                    FIRST IMPRESSION OF LE-VEL THRIVE – SOMETHING IS FISHY!

                    This is a huge difference.
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                     I’m not saying the products contain GMOs. But I am saying I do have legitimate doubts about this claim
                         without a certification. Because ingredients contained within these products are some of the highest
                         genetically modified foods, upward of 90% of soy and corn are GMO and both are contained in these

                         products.


                         The customer service rep went on to tell me,




                         “             We source all our ingredients from fruit and vegetable farms from around th
                                       farms certi ed organic and some are not. (emphasis mine)




                         Wait, hold on a minute. You source all ingredients from fruit and vegetable farms? That is a flat out lie.


                         First, not every ingredient, in fact I’d say majority of the ingredients in Le-Vel Thrive products – are not

                         from fruit and vegetable farms.


                         I mean, last I checked, synthetic vitamins, MSG and artificial sweeteners don’t grow on trees.


                         I probed further, asking the following:
 116
SHARES



                                  Are you certified GMO-free?

                                  What about the ingredients you don’t obtain from farms because they simply don’t come from
                                  farms, like caramel color, maltodextrin, sucralose, natural flavors, etc? These are not made in

                                  farms. They’re made in labs.

                                  Is the hydrolyzed collagen from grass-fed, organic animals?


                         THE INFORMATION I RECEIVED ABOUT THE INGREDIENTS DIDN’T SEEM
                         ACCURATE AT ALL.

                         I was again told that Le-Vel Thrive products are GMO-free but no mention of certification. And without
                         a certification – I don’t blindly trust that anything is GMO-free, whether it’s Thrive products or a bag of

                         chips.


                         I was told that the whey is non-GMO and therefore organic and grass-fed. Clearly, this person had no

                         idea what they were talking about.


                         Just because whey is non-GMO does not mean that it’s grass-fed and/or organic. In fact, the majority of

                         non-GMO whey in the US comes from cows in concentrated animal feeding operations (CAFOs) being
                         fed non-GMO soy and corn.


                         Just because something is non-GMO (which I question the validity of in the first place) does not mean
                         it’s grass-fed. There’s a HUGE difference. Again, it’s possible that it’s grass-fed, but this person didn’t
         Case 2:21-cv-02022-DOC-KES Document 8-3 Filed 03/05/21 Page 74 of 182 Page ID
                                                                   #:155
                     seem to have any actual idea what grass-fed means.


                    I was also told that nothing synthetic is used in these products. Word for word, that is what I was told.




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SHARES

                    So in the same breath, you’re telling me that the products are non-GMO, that the whey is grass-fed and
                    organic just because it’s non-GMO, that you can’t disclose where the corn is sourced from and that not a

                    single ingredient is synthetic?


                    That’s simply false and it makes it extremely difficult to believe anything I was told during my research

                    for this Le-Vel Thrive review.


                    Splenda is synthetic. Folic acid is synthetic. Caramel color is synthetic. Natural flavors are synthetic.

                    Potassium sorbate is synthetic. Modified starch is synthetic. The list goes on and on.


                    These products weren’t made in nature. They’re man-made in a lab.


                    Last time I checked, nature doesn’t make patches that help you lose weight or foam that delivers
                    vitamins.
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                                           #:156




                    WHAT’S REALLY IN LE-VEL THRIVE CAPSULES AND
                    PATCHES?

                    If you take away one thing from this Le-Vel Thrive review, let it be this:

 116
SHARES              You’re consuming these products, you’re consuming carcinogens, preservatives, additives, artificial

                    sweeteners and MSG (among other things).


                    For a brief overview without getting into the studies, scientific literature and my getting pissed off about
                    people applying patches to their arms thinking it’s a healthy and effective way to lose weight:


                          these products are not certified GMO-free – if you’ve grossed a billion dollars in five years, you

                          can afford the certification

                          these products contain probable carcinogens, aka ingredients that have been shown to cause

                          cancer

                          these ingredients contain processed food-like products (potassium sorbate, caramel colors,

                          maltodextrin, natural flavors, etc)

                          these products contain artificial sweeteners (sucralose aka Splenda!)

                          these products contain MSG (modified starch, natural flavors, modified food starch and
                          potentially corn starch)

                          these products contain synthetic vitamins that have been linked to cancer (folic acid)



                    As part of my Le-Vel Thrive review, I will share a few of the ingredient labels and then delve into the
                    specifically harmful ingredients contained within these products.


                    INGREDIENTS OF LE-VEL THRIVE LIFESTYLE MIX:

                    The Lifestyle Mix
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                                           #:157




                    INGREDIENTS OF LE-VEL PREMIUM LIFESTYLE SHOT:

                    The Premium Lifestyle Shot




 116
SHARES




                    INGREDIENTS OF LE-VEL THRIVE BOOST PREMIUM GREENS BEVERAGE:

                    Boost Premium Greens Beverage
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SHARES

                                            Wtf is gluten-free wheat?


                    INGREDIENTS OF LE-VEL THRIVE COLLAGEN PROTEIN GEL:

                    Collagen Protein Gel




                    INGREDIENTS OF LE-VEL THRIVE THE WOMEN’S MULTIVITAMIN:
         Case 2:21-cv-02022-DOC-KES Document 8-3 Filed 03/05/21 Page 78 of 182 Page ID
                                           #:159




                    INGREDIENTS OF LE-VEL THRIVE THE MEN’S MULTIVITAMIN:




 116
SHARES




                    MY HONEST OPINION ABOUT LE-VEL THRIVE MULTIVITAMINS :

                    A quick note about these multivitamins before we delve into the horrible ingredients in these products:

                    the vitamin and mineral makeup of these multis isn’t even good.


                    There are SO many better multivitamins on the market that contain more vitamins and minerals and are
                    made of organic food!


                    Compare the above multivitamins to the one I take, which is an organic, food based multi. It has a ton
                    more vitamins, minerals, enzymes and herbs!
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                                                                    #:160
                     Also – the Thrive vitamins are $60 for a month-long supply – that’s insane. They’re incredibly
                        overpriced – especially considering how few vitamins and minerals you get – and not to mention the one
                        I use is made up of organic food which provides vitamins and minerals that are actually bioavailable and

                        easy to digest!


                        The multivitamin I personally use, seen below, is $32.89 for a three month supply! You can see it

                        here.




 116
SHARES




                                                                                                                            Dehen Knitting Co.
                                                                                                                            Dehen 1920




                        7 REASONS WHY I DO NOT RECOMMEND LE-VEL THRIVE
                        PRODUCTS:

                        FOLIC ACID
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                     Folic acid is the synthetic form of folate, which has proven to be particularly problematic.


                        Folate is a naturally occurring water soluble B vitamin. Folic acid, however, is a synthesized form of

                        folate that the body is unable to properly absorb or utilize.


                        In fact, folic acid supplementation has even been linked to cancer.




                        “
                                  …in the Journal of the American Medical Association — suggesting that all the
                                  extra folic acid might increase your odds of developing cancer. “The more we
                                  learn about folic acid, the more it’s clear that giving it to everyone has very real
                                  risks,” says folic acid researcher David Smith, PhD, a professor of pharmacology
                                  at the University of Oxford in England.


                        Another study out of Chile linked folic acid supplementation with an increased risk of colon cancer.


                        And yet another study out of Norway linked folic acid supplementation with a 21% increase in lung

                        cancer.




                        “
                                  Folic acid and B12 supplementation was associated with a 21% increased risk
                                  for cancer, a 38% increased risk for dying from the disease, and an 18% increase

 116                              in deaths from all causes.
SHARES



                        While folate is a necessary part of a balanced diet, folic acid has actually been linked to increased rates
                        of cancer (another source for ya).


                        It’s been estimated that 40% of the population has an MTHFR gene mutation which makes people

                        completely inept at absorbing folic acid! Dr. Will Cole has a great article on MTHFR you can check out
                        here.


                        SUCRALOSE

                        These products contain the artificial sweetener, sucralose, also known as Splenda.


                        From the mouth of the beast,




                        “
                                  Sucralose is made through a patented, multi-step process that starts with sugar
                                  and selectively replaces three hydrogen-oxygen groups on the sugar molecule
                                  with three chlorine atoms. The result is an exceptionally stable sweetener that
                                  tastes like sugar, but without sugar’s calories.


                        That’s right, it’s chlorinated. Sucralose destroys beneficial gut flora, thus impairing immune function

                        and promoting obesity.
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                    No. Sucralose is not a natural product – it is not found in nature. Although sucralose is made from sugar,

                    the sugar molecule is chemically modified to make sucralose which is classified as an artificial

                    sweetener.


                    SOY

                    This study from Harvard found that men consuming the equivalent of one cup of soy milk per day had
                    50% lower sperm count than men who did not consume soy (even accounting for other factors like age,

                    caffeine and alcohol intake, etc.).


                    From the study,

 116


                    “
SHARES
                           There was an inverse association between soy food intake and sperm
                           concentration that remained signi cant after accounting for age, abstinence
                           time, body mass index, ca eine and alcohol intake and smoking. In the
                           multivariate-adjusted analyses, men in the highest category of soy food intake
                           had 41 million sperm/ml less than men who did not consume soy foods.


                    Several studies have also linked soy to cancer.




                    “
                           …this pilot study indicates that prolonged consumption of soy protein isolate
                           has a stimulatory e ect on the premenopausal female breast, characterized by
                           increased secretion of breast uid, the appearance of hyperplastic epithelial
                           cells, and elevated levels of plasma estradiol. Source


                    as well as,




                    “
                           We have demonstrated that the iso avone, genistein, stimulates growth of
                           estrogen-dependent human breast cancer (MCF-7) cells in vivo…Here we
                           present new information that soy protein isolates containing increasing
                           concentrations of genistein stimulate the growth of estrogen-dependent breast
                           cancer cells in vivo in a dose-dependent manner. Source


                    MALTODEXTRIN

                    I reached out to Thrive (or Level? what do I call them? the branding is NOT clear at all) about their
                    maltodextrin and was told it’s made from rice, which is better than corn but is still an overly processed
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                     additive that should be avoided by those with high blood sugar, insulin resistance, obesity and/or

                         diabetes.


                         There is evidence that maltodextrin can alter gut flora and suppress beneficial bacteria in the gut.


                         CORN STARCH AND MODIFIED STARCH AKA MONOSODIUM
                         GLUTAMATE (MSG)




                         Corn starch and modified starch are two names that MSG masquerades under. There is no legal reason
                         to disclose this information as the FDA does not require companies to do so.

 116
SHARES                   Glutamic acid is found in foods like tomatoes, beef, walnuts, peas, etc. Monosodium glutamate,

                         however, is manufactured glutamic acid that takes on an entirely different chemical composition and
                         reacts differently in the body.


                         Studies have linked MSG to nonalcoholic fatty liver disease (NAFLD) and nonalcoholic steatohepatitis
                         (NASH) as well as type 2 diabetes, inflammation and obesity. From this study,




                         “
                                We previously reported that injection of monosodium glutamate (MSG) in ICR
                                mice leads to the development of signi cant in ammation, central obesity, and
                                type 2 diabetes. To directly address the long-term consequences of MSG on
                                in ammation, we have performed serial analysis of MSG-injected mice and
                                focused in particular on liver pathology. By 6 and 12 months of age, all MSG-
                                treated mice developed NAFLD and NASH-like histology, respectively. In
                                particular, the murine steatohepatitis at 12 months was virtually
                                undistinguishable from human NASH.


                         Meanwhile, this study linked MSG to cognitive decline, learning disability and impaired memory
                         function. This study linked MSG to headaches. This study linked MSG to pancreatic dysfunction and
                         diabetes.


                         CARAMEL COLOR

                         Caramel color, not to be confused with actual caramel (made of cream and sugar), is made using
                         ammonia and sulfites under high pressure.
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                     Caramel color is most notably added to soft drinks, like Coke or Pepsi.


                     Johns Hopkins did a study on the caramel color found in these drinks and determined that it is indeed a
                     carcinogen.


                     “Soft drink consumers are being exposed to an avoidable and unnecessary cancer risk from an

                     ingredient that is being added to these beverages simply for aesthetic purposes,” says Keeve Nachman,

                     PhD, senior author of the study and director of the Food Production and Public Health Program at the
                     CLF and an assistant professor at the Johns Hopkins Bloomberg School of Public Health “This
                     unnecessary exposure poses a threat to public health and raises questions about the continued use of
                     caramel coloring in soda.” Source


                     POTASSIUM SORBATE

                     PS is a common chemical made in a lab that serves as a preservative, to extend the shelf-life of food.
                     Because why shouldn’t food sit out for months, even years at a time without going bad?


                     From Fooducate,




                     “
                            However, two studies have shown that potassium sorbate has the potential to
 116                        mess with our DNA. In one study, PS is clearly seen to be genotoxic to the
SHARES
                            human peripheral blood lymphocytes (white blood cells). In another study,
                            potassium sorbate mixed with ascorbic acid (vitamin C, which is present in
                            many foods), caused mutagenicity and DNA-damaging activity. the risk
                            demonstrated in the studies is very low, but it is statistically signi cant.



                     THE CONCLUSION OF MY LE-VEL THRIVE REVIEW:

                     So let me sum up my Le-Vel Thrive review:


                     This scammy company has made a billion dollars in five years by selling carcinogens, additives,

                     preservatives, synthetic vitamins and overall unhealthy, overly processed, trendy products to
                     unsuspecting people who don’t know what they’re actually consuming.


                     To people who want to get healthy. To people who want to make an income and put their kids through
                     college.


                     This is not okay with me and this is why I wrote this Le-Vel Thrive review.


                     People need to know what they’re selling and what they’re buying – because


                     I’m willing to bet the majority of the people who sell and consume these products are good people who
                     are completely unaware that folic acid and caramel color have been directly linked to cancer.


                     These people don’t know that they’re consuming preservatives linked to altered and damaged DNA.
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                     They don’t know they’re consuming artificial sweeteners that damage gut health. You deserve to know
                         the truth.




                         HEALTH DOES NOT COME IN A PATCH. IT DOESN’T COME IN A
 116                     MEAL REPLACEMENT SHAKE.
SHARES


                         We have overcomplicated the key to health which is real, organic, unprocessed food, good sleep, low

                         stress, exercise and a fun lifestyle.


                         Think about it. You’re applying a patch to your arm to lose weight. That’s nuts.


                         (Side note: I asked how these work and was told directly from the company “Support is not able to

                         explain the science behind DFT Duo.”).


                         I mean, we’ve come so far away from the simple truth: real food is the key to health.


                         Not shakes, not patches, not gel foam derma technology.


                         For more unbiased reviews, check out my:


                                Review of Flat Tummy Tea

                                Review of Beautycounter

                                Review of Monat

                                Review of Doterra

                                Review of It Works


                         DID YOU ENJOY MY LEVEL THRIVE REVIEW? LET ME KNOW IN THE
                         COMMENTS SECTION BELOW! AND LET’S CONNECT ON INSTAGRAM!
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                       McArthur Declaration
                             Attachment 9
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                       McArthur Declaration
                            Attachment 10
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                                                                                                             Huckberry




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         Americans By End Of May                Testimony Since Capitol                   Assassination’ Of Top DOJ
                                                Attack                                    Pick Vanita Gupta




How Utah Became a Bizarre, Blissful
Epicenter for Get-Rich-Quick Schemes
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                                         45



By Alice Hines
June 9, 2015 11:41 a.m.

  Three years ago I walked out of my house and put a .32 pistol
  to my head.”

  Jared Allen, a property manager from Idaho, chokes up as he
  tells this story, a tear running down his weathered face. Jared
                                                                    Find Your Thing
  didn’t kill himself that day. He fell to the ground and begged    Redbubble.com


  the Lord for help, and soon, his brother-in-law arrived from
  Canada with a dietary supplement he had designed,
  EMPowerplus Q96.

                              ADVERTISING
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In the years since his brush with suicide, Jared has gone off
Lithium. He works 14-hour days and doesn’t even get tired.
Now, he’s in business selling the supplements—or, as he sees
it, helping others find happiness. “There aren’t too many
things in this world that will pay you a lot of money and give
you that fuzzy, warm feeling,” says Esther, his wife.

EMPowerplus Q96 is a capsule of grainy, off-white powder,
with an odor that recalls chewable Flintstones vitamins.
According to its package, it’s a blend of minerals, vitamins and
amino acids specially formulated to supply the brain with
nutrients—but this does little to explain how it makes people
feel. Swallow one, devotees say, and the negative thoughts
cluttering your mind might gradually melt away, like patches
of snow on mountains in the distance.

It’s early May and I’m at a Marriott hotel in Salt Lake City for a
conference of Q Sciences, the company that sells EMPowerplus
Q96. Here, everyone but me is a salesperson, which means
these testimonials are also pitches. Q Sciences is a multi-level
marketing company, selling not in stores but through regular
people, who earn commission from selling products as well as
recruiting others to do the same. This last bit makes multi-         WHAT DO YOU THINK?               
level marketing unique—and controversial. Trying to wrap
                                                                     How likely or unlikely do you
your head around the concept of selling a business                   think it is that senators will
                                                                     alter the stimulus checks
opportunity to sell a business opportunity to sell a business        when the $1.9 trillion plan is
opportunity can feel like being lost in a hall of mirrors (after     taken up by the Senate this
                                                                     week?
ingesting grainy, off-white powder). It’s profitable: The
industry’s biggest players, like Amway, Mary Kay and                     Very likely

Herbalife, each bring in upwards of $4 billion per year,                 Somewhat likely

according to Direct Selling News, a trade publication.                   Somewhat unlikely

                                                                         Very unlikely

                                                                         Other / No opinion
Q Sciences HQ in Pleasant Grove, Utah

                                                                                       NEXT
To figure out how much the workers make, head back to the
hall of mirrors. Tales of newly-minted millionaires circulate
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like cash, as do stories of people who’ve lost fatal amounts of
it. Money is only part of why one joins, though: Here in Utah
Valley, distributors preach a gospel of mind-body wellness,
founded on healthy supplements and spiritual growth. These
suburban towns nestled at the foot of the Rockies are the
epicenter of a global industry worth $183 billion. Depending
on who you ask, this industry is either a bastion of American
innovation or a scam of epic proportions, the Giza of pyramid
schemes. Meanwhile, facts that might help you decide which
one it is—such as whether distributors earn or lose money,
and how much—are difficult to pin down.

At the Q Sciences conference, facts are swept up in avalanches
of feelings. One activity consists of standing up and telling the
person next to you, “You’re the smartest person I’ve met all
day.” A motivational video teaches that success depends not on
your circumstances, but your state of mind. “You gotta want to
succeed as bad as you want to breathe!” proclaims a voice out
of a Rocky movie. One company doctor gives a speech wearing
a white coat, yet turns out to have a degree in Psychology and
Christian Counseling when I Google him. He introduces a
gadget that looks like a set of VR goggles, a kind of hypnosis
device to help you lose weight, quit smoking or relax. It works
in part by flashing light into your ears. You aren’t able to hear
the light, but your brain understands its frequencies like
“computer code.” It’s for sale in the gift shop for $495.
   Case 2:21-cv-02022-DOC-KES Document 8-3 Filed 03/05/21 Page 99 of 182 Page ID
                                     #:180
        Sacri ce Motivational Montage with Les Br…




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After two days, I realize that the most mystifying thing about
the Q Sciences conference isn’t that the facts don’t add up—it’s
that no one but me cares. Something about being part of this
company is appealing enough to make the 300 people here
look past reality in favor of something more transcendent. I
don’t know what that something is, but I suspect it’s pretty
great. So, on my third day in Utah, after dinner and a bath, I
swallow my first capsule of EMPowerplus Q96.
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After a week of wearing the Thrive nutritional patch, Denise
Holbrook discovered what seemed like superhuman strength.
When her husband fainted outside of a hospital, she caught
him. “How the hell am I holding up a 200-pound man by
myself?” she remembers thinking.

In December 2014, weeks after Denise caught her husband, he
died of leukemia at the age of 30. (Denise is 26.) Nine days
later, Denise invited her friends on Facebook to learn about
Thrive. In a post, she announced that she thought it would be
selfish not to share the supplement, considering it had allowed
her to stop taking anti-anxiety medication and stay awake
after sleepless nights amid her husband’s deterioration.



Denise Holbrook with her Thrive patch

Denise lives in South Jordan, Utah, off of Interstate 15, the
aorta of Utah Valley. As I drive up and down it, I count multi-
level marketing office parks marked by pastel signs: eight in
Orem, five in Pleasant Grove, four in Provo. There are more of
them here than anywhere in the world, though exactly how
many is difficult to say, as they open and close as fast as start-
ups in a different Valley. Everyone I talk to gives the same
reason why: Mormons make up 82 percent of the population
in this county, and Latter-Day Saints consider it a joy and
privilege to share their religion with others, which makes
them amenable to sharing products, too. Mormons also tend to
be more open-minded about natural medicine, while
abstaining from alcohol, coffee and tobacco. Multi-level
marketers here mostly sell dietary supplements. Around the
world, though, they promote an arsenal of products—greeting
cards, coupons, gas-enhancing liquid, real estate coaching,
gold bars.

According to trade association figures, global participants in
direct selling, which includes multi-level marketing, earn just
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    $1,833 a year on average. If you think of it as a salary, this is
    very low, particularly considering the initial investments some
    distributors make to grow their businesses. Yet the World
    Federation of Direct Selling Associations, which published the
    figures, notes that some participants are only looking for part-
    time income, or hoping to get discounts on products they use
    themselves. Meanwhile, those who join to make money rarely
    see what they do as a job—it’s an opportunity to pursue the
    American Dream, determine their incomes based on hard
    work and embrace a positive outlook.

    From this perspective, $1,833 a year is a steal. Denise makes
    $1,000 a month already, she says, not yet enough to quit her
    job at a dentist’s office but a decent part-time income. She
    hopes to one day earn all her income working for Thrive’s
    Dallas-based maker, Le-Vel.

    When I meet Denise, she has talked to more than 100 people
    about Thrive in the five months since her husband’s death—
    on the Internet and in grocery stores and on a trip to Hawaii.
    She regularly posts selfies to Facebook and Instagram
    displaying the Thrive patch, which looks like a quit-smoking
    aid made by Lisa Frank, on her forearm. (Hashtags: #ThriveOn
    and #Thrivin.) Thrive’s patch—officially called Premium
    Lifestyle DFT™, for Derma Fusion Technology—puts
    antioxidants, fruit extracts and other supplements into your
    body via your skin. The company recommends it be used
    along with daily capsules and a nutritional shake. A month’s
    supply of all three is $190, but if you sign up two customers at
    that rate, you can get yours for free.

re not selling anything, they say, but sharing things they love.

    It’s easy to find rapturous stories about Thrive on the Internet
    —and almost as easy to find distressed, furious reviews. “It is
    basically legalized crack,” writes one former distributor on a
    forum. “I’ve never been down right drunk, and never been a
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drug user, but I’m assuming that this might be what it feels
like to come off of some kind of heavy drug,” writes another.
Claims a third, “Literally would get lost leaving my home
going to the post office (this has never happend before). By
day 5 & 6 I was slurring all day-i couldn’t make it stop.” Others
complain of chest pain, blood-pressure spikes, heart
palpitations and trips to the ER for caffeine overdose.

In equal proportion are distributors professing their love for
Thrive and its positive impact on energy, mood and weight.
But even some supportive testimonials speak of bizarre side
effects. “Help! I LOVE this product…but when I take it, by 4pm,
I smell like I’ve rolled in a can of hot chicken of the sea!”

I found all this through a simple Google search, and the
reviews go on forever: One forum contains 700 comments (35
pages) about Thrive since 2013, as of publication. Le-Vel
promoters must see these, yet it doesn’t dissuade them from
joining. Judging by the comments, many are intrigued by the
apparently very real effects of weight loss and energy—and
skeptical that the FDA stamp of approval means much. Unlike
drugs, the FDA does not approve dietary supplements before
they go to market, though it does govern what kinds of claims
they are allowed to make: nothing about curing, treating,
mitigating or preventing actual diseases.

Still, few dietary supplements have the kind of negative
reviews that Thrive does, and many have been evaluated with
much more thoroughness by the scientific community. (Q
Sciences, for instance, claims its products are backed by
research at 15 universities.) So why do distributors choose
Thrive, in spite of so many stories about sketchy side effects?

I ask Denise this question a few weeks after our initial
encounter, via Facebook message. Her reply: “It’s the internet.
Haters gonna hate lovers gonna love 😜.” In our initial
conversation, her explanation about Thrive’s health effects
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was similarly succinct: “It just works!” she told me. “Even
though I’m going through the worst time I’ve ever gone
through, I’m finding a big sense of purpose.” As she launched
her Thrive business, she moved into a new place, got a dog
and started teaching violin again. She’s now supporting
herself financially. Happiness is a choice, she says, not a result
of circumstances: “It’s a lot of mind-over-matter.”




Mind-over-matter” is the ethos that unites dietary
supplements and multi-level marketing. In America, taking a
supplement necessitates optimism in the face of limited facts:
that the company’s claims are researched, that the ingredients
are safe and that what they make you feel is more than the
placebo effect. Of course, participation in the mainstream
medical system requires optimism, too, when many drugs
approved by the FDA turn out to be unsafe and are recalled, or
are marketed for unapproved uses. Multi-level marketing,
meanwhile, requires distributors aspiring to build businesses
to have faith that their opportunities will yield more than
$1,833 per year.

Usually, when a multi-level marketing company makes the
news, it’s because distributors made less. One couple from
New Mexico accumulated more than $100,000 worth of debt
over five years as distributors for Reno-based MXI Corp, they
told the Washington Post last year. The losses came largely
from buying up large quantities of the company’s chocolate—
or rather, “Xoçaí HealthyChocolate”—in order to advance in
the distributor hierarchy and receive higher commissions.
They’ve since filed a lawsuit calling MXI a pyramid scheme.
The chocolate is so expensive (roughly $140 for a month’s
supply) that the only people willing to buy it are trying to
build businesses themselves, plaintiffs say. (In the U.S., multi-
level marketing companies are generally considered illegal
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when they generate a majority of income through recruiting,
rather than selling products to consumers.) The couple’s story
encapsulates almost every negative stereotype about the
industry: greedy corporations, quacky, expensive products,
brainwashed distributors. It’s a reputation enhanced by a
track record of targeting vulnerable communities, including
Hispanic immigrants (Herbalife), indebted college students
(Vemma) and unemployed workers in China.

The thing is, little of what I’ve read on the Internet about
multi-level marketing applies to what I see in Utah. No one I
talk to is poor—most are suburban moms, some with college
degrees, who cheerfully explain that the industry has
empowered them to work flexible hours and spend time with
their kids. Partially, this reflects the state’s demographics—
Utah had the sixth highest median household income in the
U.S. in 2013, $62,967—but also the fact that the Mormon
church encourages female members to stay in the home. A
recent New York Times analysis estimated that 46 percent of
prime-age women in Utah Valley are not working, compared
to 8 percent of men. As a result, their vision of economic
success is unique. At a Mother’s Day Boutique in South Jordan,
a craft fair where half of the booths have nothing to do with
crafting, multi-level marketers talk about their operations less
as businesses than passion projects. They’re not selling
anything, they say, but sharing things they love, including
candles, body scrubs and charm bracelets.

This cheerfulness could be a trick,
fostered by companies in order to keep distributors peppily
treading water while they sink money into something that’s
never going to pay off. Or could it be the real deal, evidence
that something is paying off? My conversations don’t lead to
any more definite answers than the income statements and
cryptic compensation plans of publicly-held multi-level
marketers. One Boutique vendor says her scented candle
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income has been enough to allow her to comfortably stay at
home with her kids for years while not otherwise working
(though she doesn’t give exact numbers). Another confesses
she’s $2,000 in the hole after less than a year selling printed
dresses, which are piling up in boxes around her living room.

Amid the uncertainty, two things are clear. First, no one is
doing this full-time, to support her entire family. Second,
whether they’re losing or earning money, the women here are
getting sincere, emotional satisfaction out of this work.
They’re #Thrivin! So does it really matter if this is a job or
merely the illusion of one?

For Jeanne Call, who invited me here, it matters a lot, because
she has invested significant time and money into building a
business with dōTERRA, a “therapeutic-grade” essential oil
company. Jeanne left a traditional job as a mental health nurse
—with a guaranteed paycheck—a few months ago to pursue
health coaching, and decided to become a dōTERRA Wellness
Advocate because of how much the company’s oils had helped
with her own health. She currently spends $100 to $200 a
month on oils for her family of four to use, and isn’t breaking
even yet, but hopes to one day earn upwards of $56,000 a year
from sharing the products. The dream? Bring her husband,
who works as a supervisor at an electrical warehouse, into the
business, where they’d coach their downline of recruits not
only on healthy living but on how to become successful
dōTERRA leaders.

This dream is a long way away. There are eight dōTERRA
Wellness Advocates in a two-block radius of Jeanne’s house,
and today, there’s even one across the room—a planning
error, since Boutiques are supposed to only allow one vendor
per company. Meanwhile, Jeanne’s friends and family (her
“warm market”) have not been as receptive as she’d hoped.
Because there are so many multi-level marketers in Utah,
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outsiders are often sick of being pitched. It would be easy to
conclude that Jeanne’s facing an uphill battle, and would be
better off directing her efforts towards stable, full-time work
with guaranteed income and benefits. Yet to do so ignores the
fact of her passion. Jeanne is sacrificing money and stability
for something less quantifiable but still immensely important
—doing what she loves. In the long run, she’s confident that
her business can grow, because she believes the oils help
people.



Jeanne Call’s dōTERRA oils

You see her sincerity in the way she applies a lotion containing
wintergreen, camphor and peppermint oil onto the neck of an
old lady so frail she looks like she might be blown away by
Jeanne’s dōTERRA diffuser. The woman had surgery, and can
barely move her neck because of the pain. “I take pills but
they don’t work,” she whispers. “It feels like I’ve got a built-in
piece of two by four.” Later, she comes back to take one of
Jeanne’s cards. The lotion helped, she says.

I try a peppermint oil myself on my last day in Utah, when I’m
having allergies. Jeanne had mentioned it was great for sinus
problems, so I place a few drops under my nose and wait
optimistically. The spicy candy cane smell helps clear my
sinuses exactly as much as the EMPowerplus Q96 helped me
overcome my irrational fear of wrecking my rental car: not at
all. On my way to the airport, still sniffling, I stop by a coffee
shop and order a lavender Kombucha. Bubbly, sour, fragrant,
tonic…the liquid does everything the oil didn’t. As I sip it and
think about how in a few hours I’ll be home, rental car safely
returned, the mucus in my throat washes away. Maybe it was
the Zyrtec I took that morning, or maybe it was something
more transcendent. To quote Denise, it just worked.
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    Mind-over-matter optimism is not unique to multi-level
    marketing, or Utah. It’s part of almost anything we buy with
    an emotional payoff. Green juice doesn’t cost $10 for 8 oz.
    because it cleanses your digestive tract (Note: this statement
    has not been approved by the FDA). It’s because it makes you
    feel clean. People spend chunks of their paychecks on clothes
    not because they need fabric to cover their bodies, but
    because clothes help them inhabit identities. Jewelry
    designers and sweater knitters on Etsy look past their
    businesses’ bottom lines because they’re living their dreams.
    The strain of criticism that argues multi-level marketing
    brainwashes people ignores the larger context: We all spend
    money on products with intangible, unproven effects, we all
    disregard reality in favor of feelings, and we all want a piece
    of the American Dream.

ps the problem is I never really believed it would work.

    Yet, whether or not participants’ dreams become a reality,
    multi-level marketing companies themselves make money,
    which is why Jon Taylor considers the industry exploitative.
    Now in his seventies, he spent a year as a distributor for the
    Provo, Utah-based Nu Skin in 1994—long enough to lose
    $50,000. Jon, who had an MBA and a Psychology PhD and had
    been working as an insurance salesman, tried to use his
    business savvy as a leg up, buying newspaper ads and paying
    teenagers to plaster car windshields with advertisements. Like
    the couple suing MXI, he also spent money on inventory, in an
    attempt to reach higher sales volumes and qualify for better
    commissions. Eventually, Jon’s wife did the math—and
    threatened to leave him.

    Jon left Nu Skin instead, and in the two decades since, has
    devoted his life to debunking the industry, via books, a
    website, MLM-TheTruth.com, FOIA requests and serving as an
    expert witness in lawsuits. Jon is a devout Mormon, and in his
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 eyes, the business model preys on Latter-Day Saints’ innate
 desire to share. Jon’s wife recently tried to talk him into
 quitting multi-level marketing once and for all, but he hasn’t
 been able to. “I get emails all the time from people who have a
 loved one involved and ask what to do,” he says. “There’s an
 addictive quality.”

 After lunch with Jon in Salt Lake City’s Temple Square, a
 missionary gives me a copy of the Book of Mormon. The great
 thing about her religion, she says, is that no one can talk you
 into believing it. You have to discover it yourself. “You must
 ask me if it be right, and if it is right I will cause that your
 bosom shall burn within you,” reads the piece of scripture she
 points out.

 I think about these lines when I get home and take my last
 EMPowerplus Q96, still waiting for something to happen.
 Perhaps the problem is I never really believed it would work.
 To be converted you have to have faith, and then maybe you’ll
 uncover a burn in your bosom that validates it. I imagine that
 burn to be so sublime, your external world becomes
 inconsequential, because you are the ruler of your mind. I’ve
 never found such transcendence, but I’m convinced it exists.
 I’m still looking for it, in places different, but no better than,
 that grainy, off-white powder.

 This story has been supported by the journalism nonprofit
 Economic Hardship Reporting Project.

 Alice Hines is a writer in New York. Follow her on Twitter
 @alicehines.


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                                           |        It's a movement, Thrive Experience!


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    Serial Number Reg. Number                    Word Mark            Check Status Live/Dead
1   90256373                      THRIVE SCULPT                       TSDR          LIVE
2   88400489                      THRIVE                              TSDR          LIVE
3   88602369                      ELITE TRAINING SERIES               TSDR          DEAD
4   88046575                      ULTRA U                             TSDR          DEAD
5   88046565                      ULTRA YOU                           TSDR          DEAD
6   88033307       5723915        THRIVEFIT                           TSDR          LIVE
7   87891284       5880859        THRIVE AGAINST HUNGER               TSDR          LIVE
8   87869941                      THRIVECEUTICALS                     TSDR          DEAD
9   87742945       5698837        THRIVE NOURISH                      TSDR          LIVE
10 87500576        5522461        DFT DUO                             TSDR          LIVE
11 87203167        5476338        I AM LE-VEL                         TSDR          LIVE
12 87395797        5328699        L-V                                 TSDR          LIVE
13 87371782        5306136        M                                   TSDR          LIVE
14 87202159        5212968        W                                   TSDR          LIVE
15 87034379        5108820        MW                                  TSDR          LIVE
16 86527994        4830540        DERMA FUSION TECHNOLOGY             TSDR          LIVE
17 86761270        5772374        THRIVE                              TSDR          LIVE
18 86445941        5663888        THRIVE PLUS BALANCE                 TSDR          LIVE
19 86445889        5663887        THRIVE PLUS BOOST                   TSDR          LIVE
20 86445841        5663886        THRIVE PLUS ACTIVATE                TSDR          LIVE
21 86429217        5663885        THRIVE PREMIUM LIFESTYLE DFT        TSDR          LIVE
22 86429213        5663884        THRIVE PREMIUM LIFESTYLE MIX        TSDR          LIVE
23 86429210        5663883        THRIVE PREMIUM LIFESTYLE CAPSULE TSDR             LIVE
24 86827478        5372459        LE-VEL                              TSDR          LIVE
25 86882151        5351149        SEQUENTIAL GEL TECHNOLOGY           TSDR          LIVE
26 86894030        5174403        THRIVE EXPERIENCE                   TSDR          LIVE
27 86894090        5169444        THRIVE BY LE-VEL                    TSDR          LIVE
28 86894067        5144648        RELEASE THE THRIVE                  TSDR          LIVE
29 86894114        5115923        SGT                                 TSDR          LIVE
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30 86761014    5107541   DFT           #:243           TSDR      LIVE
31 86387524   5057064   LE-VEL                                           TSDR             LIVE
32 86813264   4992747   WEARABLE NUTRITION                               TSDR             LIVE
33 86827865   4978163   LV LE-VEL                                        TSDR             LIVE
34 86761233   4972290                                                    TSDR             LIVE
35 86760989   4972284                                                    TSDR             LIVE
36 86760965   4972283   L-V                                              TSDR             LIVE
37 86536499             SUBLINGUAL GEL TECHNOLOGY                        TSDR             DEAD




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                                              LAW FIRM
                                                October 27, 2020

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               Re:       Infringement of Thrive Natural Care, Inc.’s Registered Trademarks

     Dear Le-Vel Brands:

     We are intellectual property counsel for Thrive Natural Care, Inc. (“Thrive”)—a California
     company that makes and sells natural skincare and personal grooming products. Thrive was
     founded in 2013 with the mission of making the best natural skincare products on the market,
     using regenerative agriculture methods to produce unique botanical ingredients while also
     restoring degraded landscapes and improving livelihoods of rural farming communities. Thrive
     sells a wide range of skincare and grooming products, including face washes and scrubs, lotions,
     moisturizers, sunscreens, face balms, shaving lotions, lip balms, and grooming oils. Thrive
     skincare products are sold online at www.thrivecare.co and through retail partnerships with
     Amazon and Walmart.com, as well as at Whole Foods Markets.

     This letter concerns Le-Vel Brands, LLC’s (“Le-Vel”) unauthorized use of registered trademarks
     owned by Thrive on skincare and personal grooming products. Le-Vel is infringing Thrive’s
     rights in violation of the Lanham Act.

               A.        Thrive’s Rights in THRIVE Marks

     Thrive is the owner of the following U.S. trademark registrations:
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    1. Reg. No. 4,467,942 for the mark THRIVE in International Class 003 for “Non-medicated
       skin care preparations, namely, facial lotions, cleansers and creams, creams and oils for
       cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and
       creams” (the “’942 Mark”). This THRIVE mark has achieved incontestable status under
       the Lanham Act, because it has been continuously used by Thrive for more than five
       consecutive years.

    2. Reg. No. 6,164,303 for the mark THRIVE in International Class 003 for “Body and non-
       medicated soaps and skin cleansing gels; non-medicated skin care preparations, namely,
       facial lotions, cleansers and creams, oils for cosmetic use, skin moisturizers; cosmetic sun
       care preparations and sunscreens; shaving creams and gels; pre-shaving preparations;
       after shave lotions and creams” (the “’303 Mark”) (together with the ’942 Mark, the
       “THRIVE Marks”).

 Thrive is also the owner of a pending trademark application, U.S. Serial No. 90/198,496,
 covering a wide range of skincare, grooming, and related products that fall within the natural
 zone of expansion of Thrive’s two registered THRIVE Marks.

 Thrive’s business is built on the THRIVE Marks, which appear on all of Thrive’s products.
 Thrive has used THRIVE Marks on its products continuously since at least as early as 2013 and
 has devoted substantial money, time, and resources to developing the THRIVE brand. Thrive
 advertises its skincare products extensively on the Amazon and Walmart marketplaces. Thrive
 has also built over the past seven years a robust network of partners via its regenerative business
 model operating in Costa Rica. Thrive has communicated its unique brand via marketing
 agencies, public relations firms, social media such as Instagram and Facebook, and through the
 company’s website blog and online articles published on sites such as Medium.

        B.      Le-Vel is Infringing Thrive’s Registered Trademarks

 Despite Thrive’s registration of its THRIVE Marks, it has come to our attention that in or about
 April 2019, Le-Vel began selling THRIVE-branded skincare and personal grooming products
 (the “Infringing Products”). This includes, but is not limited to, all products in Le-Vel’s THRIVE
 SKIN line, including but not limited to THRIVE Infinite Daily Detox Purifying Bar, THRIVE
 Infinite Charcoal Activated Mask, THRIVE Infinite Hand & Foot Reparative Cream, THRIVE
 Infinite Skin & Hair Peptide Gel, THRIVE Infinite Detox Body Scrub, THRIVE Infinite CBD
 Enzyme Peel, THRIVE CBD Correcting Serum, and THRIVE Infinite CBD Moisturizing Elixer.
 Certain Infringing Products appear on Le-Vel’s website,
 https://le-vel.com/Products/THRIVE/Skin. Screenshots of representative examples of Le-Vel’s
 Infringing Products are below:




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 In each instance, Le-Vel advertises and markets the Infringing Products using prominently
 displayed THRIVE marks. The marks used by Le-Vel are identical to Thrive’s registered and
 common law trademarks for identical and very similar products.

 Due to Thrive’s exclusive and continuous use of its THRIVE Marks—and the substantial
 goodwill our client has established among consumers—Le-Vel’s use of similar marks on the
 Infringing Products is likely to cause consumer confusion as to whether those products originate
 from or have some affiliation with Thrive. In addition, Le-Vel’s widespread distribution and
 advertising, and that by its multi-level marketing promoters, have created and contributed to
 consumer confusion. Le-Vel’s use of THRIVE branding on its Infringing Products is also
 harmful to Thrive’s business reputation, as Le-Vel has received hundreds of consumer
 complaints through the Better Business Bureau and other review sites and has been investigated
 for deceptive health and marketing claims made by Le-Vel and its promoters.

 The actions by Le-Vel constitute willful trademark infringement and unfair competition in
 violation of Section 43 of the Lanham Act. Should Thrive decide to pursue trademark
 infringement litigation on these grounds, it would be entitled to a permanent injunction blocking
 all further infringement by Le-Vel and an award of Thrive’s lost profits, all profits Le-Vel made
 on its unauthorized use of the infringing marks, treble damages, and attorneys’ fees and costs.
 See 15 U.S.C. § 1117. Thrive is committed to enforcing its intellectual property and has already
 filed a lawsuit against Thrive Causemetics, Inc. to enforce its THRIVE family of trademarks
 (Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-09091, Central District
 of California).

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 While Thrive would prefer to settle this dispute without filing a lawsuit, it is willing to protect its
 valuable intellectual property in court if necessary. Le-Vel knows how valuable trademarks for
 the term THRIVE are, having itself sued Thrive Market, Inc. in the Central District of California
 in 2017 to stop Thrive Market from using THRIVE marks on nutritional supplements. In a good
 faith effort to avoid litigation from Le-Vel’s unauthorized use of our client’s marks on skincare
 and grooming products—which are a vital source of Thrive’s continued livelihood—Thrive is
 willing to explore settling this matter if Le-Vel agrees to:

    1. Provide to Thrive a full accounting of all revenue and profits made from all sales of any
       of the Infringing Products so that Thrive may determine a reasonable licensing fee for Le-
       Vel to pay for its past infringement.

    2. Immediately cease and desist any further unauthorized use, display, offering for sale, and
       sale of the Infringing Products and any similar types of goods using the name THRIVE or
       THRIVE SKIN or any brand or logo that includes those names.

    3. Agree to forever cease all use of Thrive’s intellectual property.

 As Le-Vel has misappropriated Thrive’s exclusive marks in their entirety, we believe these
 demands are fair and reasonable. If this issue is litigated, Thrive will recover millions in actual
 damages, a treble damages enhancement, and all of its litigation attorneys’ fees and costs. Our
 proposal to explore resolving this matter, without resorting to formal legal action, is for
 settlement purposes only and should be considered a Rule 408 Confidential Settlement
 Communication. Nothing contained in this letter shall be deemed a waiver of or prejudice any of
 our rights, all of which are expressly reserved.

 Now that you have been formally advised of Thrive’s rights, we trust that this matter can be
 resolved quickly and amicably. We look forward to receiving your affirmative response that you
 will fully comply with the above-stated demands by close of business on November 6, 2020.
 All correspondence regarding this matter should be directed to my attention. I can best be
 reached by email at stephen@smcarthurlaw.com.

                                                        Sincerely,

                                                        THE MCARTHUR LAW FIRM, P.C.


                                                        Stephen C. McArthur




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                                                                                              MARK SOMMERS
                                                                                                 202.408.4064
                                                                                    mark.sommers@finnegan.com


                                        November 24, 2020



 Stephen McArthur, Esq.                                                              VIA E-MAIL
 McArthur Law Firm
 9465 Wilshire Boulevard, Suite 300
 Beverly Hills, California 90212
 stephen@smcarthurlaw.com

                Re: Alleged Trademark Infringement

 Dear Mr. McArthur,

       We have had the opportunity to review and consider the allegations raised in your
 October 27, 2020 letter on behalf of your client Thrive Natural Care, Inc (“TNC”).

         TNC asks that Le-Vel stop using the mark THRIVE in connection with skincare and
 personal grooming products because such use allegedly infringes TNC’s rights in the trademark
 THRIVE for such products. For at least the reasons below, we disagree that Le-Vel’s natural and
 inevitable product expansion from its long-standing and prior use of the mark THRIVE for
 supplements and related products/services to skincare products violates any trademark rights
 owned by TNC.

           As you are aware, Le-Vel is a lifestyle company that offers a wide range of products and
 services in the health and wellness and related sectors, including dietary and nutritional
 supplements, related coaching/lifestyle/wellness programs, protein and other snacks, and
 skincare products. Le-Vel’s flagship product line is sold under the brand THRIVE and various
 THRIVE-formative marks. Le-Vel introduced its THRIVE-branded products in July 2012, when
 it first released its THRIVE dietary and nutritional supplements. Since then, Le-Vel has
 continuously and naturally expanded its THRIVE products from the supplement products
 released in July 2012 into highly related and complementary products, including protein and
 other snack products and the skincare products cited in your letter. We note that TNC did not
 begin using its THRIVE mark until at least September 2013—over a year after Le-Vel began
 using THRIVE for its products.

         It is black-letter law that a trademark owner like Le-Vel is entitled to rights not only for
 the products actually sold, but for those products where expansion can reasonably be expected in
 the future. Restatement (Third) of Unfair Competition § 21 cmt. j (1995) (“If consumers believe,
 even though falsely, that the natural tendency of producers of the type of goods marketed by the
 prior user is to expand into the market for the type of goods marketed by the subsequent user,
 confusion may be likely.”). See also Interpace Corp. v. Lapp, Inc., 721 F.2d 460, 464 (3d Cir.


                901 NEW YORK AVENUE, NW | WASHINGTON, DC 20001-4413
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 1983) (“One of the chief reasons for granting a trademark owner protection in a market not his
 own is to protect his right somebody to enter that market.”); Elvis Presley Enters., Inc. v.
 Capece, 141 F. 3d 188, 202 (5th Cir. 1998) (“The danger of affiliation of sponsorship confusion
 increases when the junior user’s services are in a market that is one into which the senior user
 would naturally expand. The actual intent of the senior user to expand is not particularly
 probative of whether the junior user’s market is one into which the senior user would naturally
 expand.”) (citations omitted); CAE, Inc. v. Clean Air Eng’g, Inc., 267 F. 3d 660, 681 (7th Cir.
 2001) (“Courts have recognized that an important reason to protect trademark owners against the
 use of similar marks on closely related products is ‘to protect the owner’s ability to enter product
 markets in which it does not now trade but into which it might reasonably be expected to expand
 in the future.’”) (citation omitted).

         When a senior trademark user—as Le-Vel is here—naturally expands into such products,
 the senior user is insulated from infringement claims from and can even assert infringement
 claims of its own against any intervening users—as TNC is here. See Virgin Enters. Ltd. v.
 Nawab, 335 F.3d 141, 150 (2d Cir. 2003) (finding district court erred in denying plaintiff
 preliminary injunctive relief because, even though plaintiff did not use its mark in connection
 with defendant’s telecommunications products prior to defendant, there was a likelihood that
 plaintiff would expand into that field from its sale of other consumer electronic products);
 Rosenthal A.G. v. Ritelite, Ltd., 986 F. Supp. 133, 141 (E.D.N.Y. 1997) (finding plaintiff’s use of
 mark for china, dinnerware, glassware, and flatware afforded plaintiff priority over defendant’s
 use of mark for Judaica goods even though defendant’s use of mark for Judaica goods was
 intervening between plaintiff’s introduction of china, dinnerware, glass ware, and flatware and
 plaintiff’s introduction of Judaica goods); J.C. Penney Co., Inc. v. Security Tire & Rubber Co.,
 Inc., 382 F. Supp. 1342, 1344 (E.D. Va. 1974) (finding plaintiff had priority over defendant, and
 defendant infringed, where plaintiff first used its mark SCAT-TRAC for bicycle tires in 1966,
 defendant used the mark SCAT TRAC for automobile tires in 1967, and plaintiff used the mark
 SCAT-TRAC for automobile tires in 1969 because “[i]t is common practice in the trade for
 automobile supply outlets to sell both automotive and bicycle tires, hence plaintiff’s extension of
 its use of its mark bicycle to automotive tires was a logical one. … This is so even though
 plaintiff’s extension of its trade from bicycle tires to automotive tires began subsequent to
 defendant’s sale of automotive tires”).

         Whether a trademark owner would be reasonably expected to expand into an industry
 “depends on whether the nature of the industries was such that purchasers would reasonably
 expect the services rendered by these industries to originate from a common source.” Commerce
 Nat’l Ins. Servs. Inc. v. Commerce Ins. Agency, Inc., 214 F.3d 432, 438 (3d Cir. 2000). In other
 words, courts will look to whether competitors in similar industries have similarly expanded or
 offer both products at issue. See Scarves by Vera, Inc. v. Todo Imports Ltd., 544 F.2d 1167 (2d
 Cir. 1976) (finding likely expansion from apparel design to cosmetics and fragrances where
 “[p]laintiff proved that many, if not most, of the leading designers sell perfumes and cosmetics
 under their own trademarks”); Interpace Corp., 721 F.2d at 464 (finding likely expansions from
 ceramic insulators to electrical wire where “some companies … make or offer ceramic insulators
 and wire or cables as well”); CAE, Inc., 267 F.3d at 680-81 (finding likely expansion from data
 acquisition, flow modeling, and process engineering for industrial companies to air quality



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 products and services where “two of [plaintiff’s] major competitors … currently offer air quality
 services that overlap with some of [defendant’s] products and services”).

          Such is the case here. Numerous leading companies in the health and wellness industry
 that sell supplements expanded into the sale of skincare products or vice versa. Our cursory
 search for such entities revealed at least the following companies offering both skincare and
 supplement products, e.g.:

    Company                Supplement Product                        Skincare Product
     Name
                      https://www.gnc.com/vitamins-          https://www.gnc.com/beauty-skin-
                               supplements/                            care/skin-care/



       GNC




                    https://www.vitaminshoppe.com/c/        https://www.vitaminshoppe.com/c/
                     vitamins-supplements/N-cp99hx            natural-beauty-skin/N-cp99mo


     Vitamin
     Shoppe




                     https://www.arbonne.com/Pws/             https://www.arbonne.com/Pws/
                    homeoffice/store/AMUS/catalog/           homeoffice/store/AMUS/catalog/
                   Nutrition,272.aspx?itemsperpage=18       Skincare,199.aspx?itemsperpage=18




     Arbonne




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                     https://www.isagenix.com/en-        https://www.isagenix.com/en-
                        us/products/performance            us/products/personal-care




     Isagenix




                  https://www.jeunesseglobal.com/en-   https://www.jeunesseglobal.com/en-
                           US/am/pmessentials                    US/luminesce




     Jeunesse




                  https://www.amway.com/en_US/Sh       https://www.amway.com/en_US/Sho
                      op/Nutrition/Vitamins-%26-             p/Beauty/Skin-Care/c/105
                           Supplements/c/124




     Amway




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                  http://nettrax.myvoffice.com/nikken    http://nettrax.myvoffice.com/nikkenu
                  usa/ShoppingCart/Shop.cfm?CurrPa       sa/ShoppingCart/Shop.cfm?CurrPage
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                  Detail&CategoryID=96&shiptocoun        ail&CategoryID=746&shiptocountry
                           try=USA&lng=eng                           =USA&lng=eng


     Nikken




                 https://catalog.herbalife.com/Catalog   https://catalog.herbalife.com/Catalog/
                         /en-US/Core-Products                     en-US/Skin-Hair-Care




    Herbalife




                 https://us.shaklee.com/Nutrition/c/10   https://us.shaklee.com/Beauty/c/400
                                    0




     Shaklee




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                   https://www.melaleuca.com/Product      https://www.melaleuca.com/productst
                        Store/content/category?c=2                ore/categorylanding/30




    Melaleuca




        Given the above, and the countless other companies that offer both supplements and
 skincare products, Le-Vel’s expansion from supplements to skincare products was both natural
 and inevitable. Le-Vel’s long-standing, prior use of THRIVE for supplements insulates Le-Vel
 from TNC’s claims related to Le-Vel’s natural and foreseeable expansion into skincare products.

        In your letter, you reference TNC’s lawsuit filed against Thrive Causemetics, captioned
 Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-09091 (C.D. Cal.). We
 reviewed TNC’s pleading in that case and note that TNC requests only that Thrive Causemetics
 be enjoined from using THRIVE alone for its cosmetic products, while specifically conceding
 that Thrive Causemetics can “continue to use the complete term THRIVE CAUSEMETICS—
 with CAUSEMTICS in equally-sized and equally visible font to THRIVE.” Given TNC’s legal
 concession, TNC should have no issue with Le-Vel’s use of “THRIVE” for its skincare products,
 as Le-Vel uses “THRIVE” with its prominent Infinity Logo, both of which still smaller than
 “SKIN,” as depicted below:




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         Having the benefit of our response, context of Le-Vel’s natural and foreseeable
 expansion from supplements to skincare products, and the manner of Le-Vel’s actual use of
 “THRIVE” in connection with such products, we are hopeful that your client’s concerns have
 been addressed. If you have any additional questions or concerns or wish to discuss this matter
 further, I invite you to telephone.

                                                     Sincerely,




                                                     Mark Sommers
 MS/PJR




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                       McArthur Declaration
                            Attachment 22
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                                  #:257

  From:           Stephen McArthur
  To:             Sommers, Mark
  Cc:             Tom Dietrich; Ricky Brown; Rodgers, Patrick; Powell, Virginia; Smith, Morgan
  Subject:        Re: Infringement of Thrive Natural Care, Inc.’s Registered Trademarks
  Date:           Friday, January 22, 2021 6:18:05 PM


  Mr. Sommers, we are following up on this. When can we expect a substantive response and
  for your client to provide evidence of its first use in commerce date?

  The McArthur Law Firm
  Stephen Charles McArthur
  9465 Wilshire Blvd, Suite 300
  Beverly Hills, CA 90212
  (424) 258-6815
  www.smcarthurlaw.com

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  On Wed, Jan 13, 2021 at 8:00 AM Stephen McArthur <stephen@smcarthurlaw.com> wrote:
   Mr. Sommers, we think it unlikely that a court would rule that supplements and skincare are
   related products. Nevertheless, you asserted that Le-Vel is a "senior trademark user" and that
   it "introduced its THRIVE-branded products in July 2012", prior to Thrive Natural Care's
   priority date. But you provided zero evidence to support that, and we can find no evidence
   online to support that early first use date either. We are making a good faith attempt to avoid
   litigation by giving you an opportunity to simply provide evidence for the facts that you
   assert are true. If you provide evidence for your client's alleged first use date, that would
   help us assess the situation and we can continue our discussion for how to move forward
   from there.

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    On Tue, Jan 12, 2021 at 7:18 AM Sommers, Mark <mark.sommers@finnegan.com> wrote:

     Mr. McArthur, I trust this letter finds you healthy and safe as 2021 begins. You have yet
     to substantively respond to our last letter regarding whether Thrive Naturals believes skin
     care products fall within the zone of natural product expansion of supplements or vice
     versa. Please provide your client’s answer to that question and we can continue discussing
     a disposition of this matter. Thanks, Mark



     Mark Sommers
     Partner
     Finnegan, Henderson, Farabow, Garrett & Dunner, LLP
     901 New York Avenue, NW, Washington, DC 20001-4413
     202.408.4064 | fax: 202.408.4400 | mark.sommers@finnegan.com | www.finnegan.com




     From: Stephen McArthur <stephen@smcarthurlaw.com>
     Sent: Thursday, December 31, 2020 1:37 PM
     To: Sommers, Mark <mark.sommers@finnegan.com>
     Cc: Tom Dietrich <tom@smcarthurlaw.com>; Ricky Brown <ricky@smcarthurlaw.com>;
     Rodgers, Patrick <Patrick.Rodgers@finnegan.com>; Powell, Virginia
     <virginia.powell@finnegan.com>; Smith, Morgan <Morgan.Smith@finnegan.com>
     Subject: Re: Infringement of Thrive Natural Care, Inc.’s Registered Trademarks




      EXTERNAL Email:




     Mr. Sommers, Happy holidays. I'm following up on my previous email. We are doing our
     best to make a good faith attempt at resolving this dispute without litigation. But we
     cannot do so without more cooperation on your end. Do you have any intention of
     providing to us Le-Vel's purported evidence of its senior use? If you'd prefer to discuss
     telephonically, that is fine. Please let me know.



     Best regards,


     The McArthur Law Firm
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     9465 Wilshire Blvd, Suite 300
     Beverly Hills, CA 90212

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     On Mon, Nov 30, 2020 at 1:12 PM Stephen McArthur <stephen@smcarthurlaw.com>
     wrote:

       Mr. Sommers, thank you for the response. The letter asserts, without any evidence, that
       Le-Vel's Thrive supplement products were released in July 2012. While it appears that
       Le-Vel Brands as a company may have been created then, the evidence we have seen
       indicates that the product sales did not begin until after that date. The burden of proof is
       on you to show an earlier common law usage than TNC's registered trademark rights.
       Can you provide to us Le-Vel's actual evidence of its purported senior use: e.g, dated
       invoices/purchase orders/etc. bearing the Thrive brand name for supplement products?
       If Le-Vel is, in fact, the senior user, then it should have no issue providing this limited
       set of documents.


       Best regards,



       The McArthur Law Firm
       Stephen Charles McArthur
       9465 Wilshire Blvd, Suite 300
       Beverly Hills, CA 90212

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       asserts all rights to confidentiality, including all privileges and copyrights that may
       apply. Thank you.




       On Tue, Nov 24, 2020 at 4:29 PM Sommers, Mark <mark.sommers@finnegan.com>
       wrote:

         Dear Mr. McArthur,



         Please see my attached letter. I invite you to call if you have any questions or would
         like to discuss this matter further.



         Best, Mark



         Mark Sommers
         Partner
         Finnegan, Henderson, Farabow, Garrett & Dunner, LLP
         901 New York Avenue, NW, Washington, DC 20001-4413
         202.408.4064 | fax: 202.408.4400 | mark.sommers@finnegan.com | www.finnegan.com




         From: Stephen McArthur <stephen@smcarthurlaw.com>
         Sent: Friday, November 6, 2020 8:29 PM
         To: Smith, Morgan <Morgan.Smith@finnegan.com>
         Cc: Sommers, Mark <mark.sommers@finnegan.com>; Tom Dietrich
         <tom@smcarthurlaw.com>; Ricky Brown <ricky@smcarthurlaw.com>; Rodgers,
         Patrick <Patrick.Rodgers@finnegan.com>; Powell, Virginia
         <virginia.powell@finnegan.com>
         Subject: Re: Infringement of Thrive Natural Care, Inc.’s Registered Trademarks



         EXTERNAL Email:




         Morgan, thank you for the email. Do you have an estimate for when your client will
         be prepared to provide a substantive response?
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         Stephen Charles McArthur
         9465 Wilshire Blvd, Suite 300
         Beverly Hills, CA 90212

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         reserves and asserts all rights to confidentiality, including all privileges and
         copyrights that may apply. Thank you.




         On Fri, Nov 6, 2020 at 4:12 PM Smith, Morgan <Morgan.Smith@finnegan.com>
         wrote:

           Mr. McArthur,



           After we have investigated and weighed the various issues raised in your letter, we
           will provide you with our substantive response.



           If you have any questions in the meantime, please let us know.



           Best,

           Morgan



           Morgan Elizabeth Smith
           Attorney at Law

           Pronouns: She, Her, Hers
           Finnegan, Henderson, Farabow, Garrett & Dunner, LLP
           3300 Hillview Avenue, Palo Alto, CA 94304-1203
           +1 650 849 6665 | fax: +1 650 849 6666 | morgan.smith@finnegan.com | www.finnegan.com
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                                  #:262




           From: Stephen McArthur <stephen@smcarthurlaw.com>
           Sent: Tuesday, October 27, 2020 8:00 AM
           To: Support@le-vel.com; Smith, Morgan <Morgan.Smith@finnegan.com>;
           Sommers, Mark <mark.sommers@finnegan.com>
           Cc: Tom Dietrich <tom@smcarthurlaw.com>; Ricky Brown
           <ricky@smcarthurlaw.com>
           Subject: Infringement of Thrive Natural Care, Inc.’s Registered Trademarks



           EXTERNAL Email:




           Dear Ms. Smith and Mr. Sommers, We are legal counsel to Thrive Natural Care,
           Inc.. Please see attached trademark cease and desist letter to your client, Le-Vel
           Brands, LLC. Note that we demand a response by November 6.



           Best regards,  


           The McArthur Law Firm
           Stephen Charles McArthur
           9465 Wilshire Blvd, Suite 300
           Beverly Hills, CA 90212

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